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 1 ROBBINS GELLER RUDMAN & DOWD LLP
   DANIEL S. DROSMAN (200643)
 2 TOR GRONBORG (179109)
   ELLEN GUSIKOFF STEWART (144892)
 3 LUCAS F. OLTS (234843)
   J. MARCO JANOSKI GRAY (306547)
 4 CHRISTOPHER R. KINNON (316850)
   HEATHER G. GEIGER (322937)
 5 655 West Broadway, Suite 1900
   San Diego, CA 92101-8498
 6 Telephone: 619/231-1058
   619/231-7423 (fax)
 7
   MOTLEY RICE LLC
 8 GREGG S. LEVIN (admitted pro hac vice)
   LANCE V. OLIVER (admitted pro hac vice)
 9 MEGHAN S.B. OLIVER (admitted pro hac vice)
   MAX N. GRUETZMACHER (admitted pro hac vice)
10 CHRISTOPHER F. MORIARTY (admitted pro hac vice)
   MEREDITH B. WEATHERBY (admitted pro hac vice)
11 28 Bridgeside Blvd.
   Mt. Pleasant, SC 29464
12 Telephone: 843/216-9000
   843/216-9450 (fax)
13
   Co-Class Counsel for the Class
14
                             UNITED STATES DISTRICT COURT
15                        NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
16

17 In re TWITTER INC. SECURITIES           )   Case No. 4:16-cv-05314-JST (SK)
   LITIGATION                              )
18                                         )   CLASS ACTION
                                           )
19                                         )   DECLARATION OF LESLEY E.
                                           )   WEAVER IN SUPPORT OF CLASS
20 This Document Relates To:               )   COUNSEL’S MOTION FOR
                                           )   ATTORNEYS’ FEES AND LITIGATION
21         ALL ACTIONS.                    )   EXPENSES ON BEHALF OF
                                           )   BLEICHMAR FONTI & AULD LLP
22                                         )
                                           )   JUDGE: Hon. Jon S. Tigar
23                                         )   DATE: November 17, 2022
                                           )   TIME: 2:00 p.m. (Via Videoconference)
24

25

26

27

28
     Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 2 of 129




 1          I, Lesley E. Weaver, declare and state as follows:

 2          1.      I am an attorney licensed in the State of California and admitted to the United States

 3 District Court for the Northern District of California. I am the Partner-in-Charge of the Oakland,

 4 California office of Bleichmar Fonti & Auld LLP (“BFA”) and the head of its Consumer and

 5 Antitrust Practice Group. I submit this declaration in support of Class Counsel’s application for an

 6 award of attorneys’ fees in connection with services rendered in the above-captioned class action

 7 (the “Action”), as well as for reimbursement of expenses incurred by my firm in connection with

 8 this Action on behalf of the Class. I have personal knowledge of the matters stated herein and, if

 9 called upon, I could and would competently testify thereto.

10 I.       INTRODUCTION

11          2.      My firm served as counsel for Lead Plaintiff KBC Asset Management NV (“KBC”)

12 from case inception through September 20, 2021, and as Court-appointed Liaison Counsel from

13 December 22, 2016 through September 20, 2021. In this capacity, my firm was involved in the

14 following tasks with Class Counsel, among others: assisting with litigation strategy of overall case;

15 investigating the factual and legal claims asserted; preparing and participating in oral argument

16 before the Court regarding KBC’s motion for appointment as lead plaintiff; researching, drafting,

17 and filing the Consolidated Amended Complaint; researching, drafting, and filing the Oppositions

18 to Defendants’ Motion to Dismiss and Request for Judicial Notice; assisting Class Counsel with

19 preparing, and responding to, discovery requests; briefing discovery; reviewing and analyzing

20 thousands of pages of documents produced throughout the litigation; assisting Class Counsel with

21 preparing for the depositions of defendants; drafting, revising, and filing the Motion for Class

22 Certification; and preparing for trial.

23          3.      The information in this declaration and its exhibits regarding the time spent on the

24 Action by the partners, attorneys, and other professional support staff of my firm is based on

25 contemporaneous, daily time records regularly prepared and maintained by my firm.

26          4.      The information in this declaration and its exhibits regarding expenses is based on

27 the books and records of my firm. These books and records are prepared from expense vouchers,

28 check records, and other source materials, and represent an accurate recordation of the expenses
     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                                   -2-
     Case No. 4:16-cv-05314-JST (SK)
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 1 incurred.

 2          5.      The time and expense records have been reviewed in connection with the

 3 preparation of this declaration to confirm the accuracy of the time entries and expenses as well as

 4 the necessity for, and fair and reasonableness of, the time and expenses committed to the Action.

 5 In preparing the lodestar tabulations, my firm exercised considerable billing judgment, which

 6 resulted in reductions to both time entries and expenses. In addition, my firm excluded from the

 7 lodestar altogether time related to the preparation of this declaration, as well as all time billed by

 8 any timekeeper who spent fewer than 10 hours working on the Action.

 9          6.      I believe that the time and work reflected in my firm’s lodestar tabulations, as

10 shown in Exhibits 1, 4, 5, and 6, is reasonable in amount and was necessary for the effective and

11 efficient prosecution and resolution of the Action. In addition, the expenses are the type typically

12 and necessarily incurred, directly related to the Action, and normally charged to fee-paying clients.

13          7.      As set forth in Exhibit 1 and the other exhibits to this declaration, the hourly rates

14 for the attorneys and professional support staff at my firm range from $350 to $1,050 and are the

15 usual and customary rates set by my firm for each individual. Different timekeepers within the

16 same employment category (e.g., partner, associate, etc.) may have different hourly rates

17 depending on their respective years of experience, years at the firm, years in their current position,

18 relevant experience, relevant expertise, and/or rates of similarly situated individuals at my firm or

19 at peer firms. For individuals who are no longer employed by my firm, the “current rate” used for

20 the lodestar calculations is based upon the rate for that person in his or her final year of employment

21 with my firm. These hourly rates are the same as, or comparable to, the rates set by peer firms for

22 attorneys of similar skill and experience, including rates that have been approved by courts in this

23 District, in other contingent-fee securities-class-action litigation or shareholder litigation.

24 II.      HOURS AND LODESTAR INFORMATION

25          8.      Attached as Exhibit 1 is a summary lodestar chart which lists (1) the name of each

26 timekeeper at my firm who devoted more than 10 hours to working on the Action; (2) their title or

27 position (e.g., partner, special counsel, associate, paralegal); (3) the total number of hours they

28 worked on the Action from its inception through September 20, 2021; (4) their current hourly
     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                                    -3-
     Case No. 4:16-cv-05314-JST (SK)
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 1 billing rate; (5) their lodestar (at both current and historic rates); and (6) a brief summary of the

 2 primary work they performed in connection with the Action.

 3          9.      The total number of hours expended on the Action by my firm from case inception

 4 through September 20, 2021, is 2,491.75 hours. The total lodestar for my firm is $1,384,765.00

 5 based on current rates and based on $1,260,103.75 historic rates.

 6          10.     Attached as Exhibit 2 are summary descriptions describing the principal tasks in

 7 which each attorney and support staff at my firm were involved in the Action.

 8          11.     Attached as Exhibit 3 are brief biographical summaries for each timekeeper listed

 9 in Exhibit 1, including information about their qualifications, education, and relevant experience.

10          12.     Attached as Exhibit 4 is an Excel spreadsheet which lists (1) the name and position

11 of each timekeeper; (2) the hours incurred by that timekeeper in each month during the course of

12 the litigation in each of the 11 task categories; (3) the hourly rate charged for each timekeeper

13 during that month; (4) their lodestar at the historic rate; (5) the current rate for each timekeeper (or

14 most recent rate for former employees); and (6) their lodestar at the current rate. Exhibit 4 (the

15 “Lodestar Chart by Timekeeper and Month”) reflects the hours expended from inception through

16 September 20, 2021.

17          13.     Attached as Exhibit 5 is an Excel spreadsheet summarizing certain information

18 contained in Exhibit 4. Specifically, Exhibit 5 (the “Summary of Categories by Month”) reflects

19 the total hours spent by all of my firm’s timekeepers in each of the 11 task categories during each

20 month, and also shows the total lodestar for all timekeepers for each month at both their historic

21 and current rates (or most recent rate for former employees).

22          14.     Attached as Exhibit 6 is an Excel spreadsheet summarizing certain information

23 contained in Exhibit 4. Specifically, Exhibit 6 (the “Summary of Categories by Timekeeper”)

24 reflects the hours spent during the Action by each timekeeper in each of the 11 task categories,

25 and also shows each timekeeper’s individual hours and lodestar at both their historic and current

26 rates (or most recent rate for former employees).

27 III.     EXPENSE INFORMATION

28          15.     My firm also respectfully requests an award of $7,286.62 for unreimbursed
     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                                    -4-
     Case No. 4:16-cv-05314-JST (SK)
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 1 litigation expenses and charges incurred in connection with the prosecution of the Action from its

 2 inception through September 20, 2021. These expenses were reasonably necessary in the

 3 prosecution of the Action, and my firm incurred these expenses with full knowledge of the risk

 4 that it might not recover any of them if the litigation was not successful.

 5          16.     Attached as Exhibit 7 is a chart summarizing my firm’s expenses and charges by

 6 category, incurred through September 20, 2021. Attached as Exhibit 8 is a detailed listing of these

 7 individual expenses and charges, organized by category. These expenses have been reviewed for

 8 reasonableness and accuracy.

 9          17.     Consistent with this Court’s order in Rodman v. Safeway Inc., Case No. 3:11-cv-

10 03003-JST (N.D. Cal. Mar. 21, 2018), we have attached true and correct copies of invoices and

11 receipts for: (a) all transportation, meals, and accommodations expenses; and (b) all other expenses

12 that exceed $500.00.

13          18.     Transportation, Meals, and Accommodations Expenses: In connection with the

14 prosecution of the Action, my firm incurred a total of $4,044.27 on limited out-of-town

15 transportation, including airfare, meals, and accommodations while traveling. Attached as Exhibit

16 9 are true and correct copies of all invoices or receipts relating to transportation, meals, and

17 accommodations, in chronological order and organized by month. In addition, all transportation

18 and meal expenses submitted for reimbursement were limited by internal travel and meal

19 restrictions, specifically: (i) airfare is capped at coach rates; (ii) meals while traveling are capped

20 at $25 per person for breakfast, $30 per person for lunch, and $55 per person for dinner; and (iii)

21 hotel charges are capped at $400 per night for large cities and $300 per night for small cities.

22          19.     Other Expenses: Certain other expenses are the type typically and necessarily

23 incurred in complex securities litigation. Invoices or receipts for these certain other expenses are

24 available upon request. The following is information regarding these certain other expenses:

25                  a. Court Reporter Costs and Service & Filing Fees: $1,316.45. These expenses

26                      were paid to obtain hearing transcripts, to call into a hearing, and to serve

27                      process.

28                  b. Postage & Express Mail: $157.93. These expenses were paid to FedEx and
     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                                   -5-
     Case No. 4:16-cv-05314-JST (SK)
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 1                    couriers for general shipment of documents and transmission of document

 2                    requests.

 3                 c. Computer Research: $1,537.97. This category includes out-of-pocket payments

 4                    to vendors such as Westlaw and PACER. These online resources were used to

 5                    obtain access to court filings and conduct legal research and cite-check briefs

 6                    in connection with the Action. These expenses represent the actual costs

 7                    incurred at a charge set by the vendors and vary depending upon the type of

 8                    services requested.

 9                 d. Photocopying & Printing: $230. This category includes out-of-pocket payments

10                    to vendors to produce courtesy copies.

11 IV.     CONCLUSION

12         20.     Attached as Exhibit 10 is BFA’s firm resume, which includes further biographical

13 information about the attorneys and professional support staff, as well as information about the

14 firm’s philosophy, organization, and successes.

15         21.     Electronic copies of the Excel spreadsheets for the charts at Exhibits 4, 5, and 6,

16 will be lodged with the Court. We will provide the Court with any further documentation or

17 explanation with respect to our lodestar fees or expenses, including detailed daily time records,

18 upon request by the Court.

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     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                                -6-
     Case No. 4:16-cv-05314-JST (SK)
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 1         I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct.

 3         Executed this 11th day of October, 2022 in Oakland, California.

 4                                                 Respectfully Submitted,

 5
                                                   Lesley E. Weaver
 6
                                                   BLEICHMAR FONTI & AULD LLP
 7                                                 555 12th Street, Suite 1600
                                                   Oakland, CA 94607
 8                                                 Tel.: (415) 445-4003
                                                   Fax: (415) 445-4020
 9                                                 lweaver@bfalaw.com
10
                                                   Liaison Counsel
11

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     DECL. OF LESLEY E. WEAVER ISO MOT. FOR
     ATTORNEYS’ FEES AND EXPENSES                                                               -7-
     Case No. 4:16-cv-05314-JST (SK)
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                 Exhibit 1
                                     Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 9 of 129


                                                                                    EXHIBIT 1

                                                        In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                         Bleichmar Fonti & Auld LLP
                                                                           Summary Lodestar Chart
                                                                     November 14, 2016 - September 20, 2021

                                         Total      Current       Historical                                                                  Brief Summary
        Name              Position                                                 Current Lodestar
                                         Hours       Rate         Lodestar                                                                  of Work Performed
                                                                                                       Day-to-day oversight of the litigation; Lead Plaintiff Motion and Hearing; Complaint;
                                                                                                       Opposition to Motion to Dismiss and Motion for Judicial Notice; Mediation and Settlement
Fonti, Joseph        Partner              167.50     $985          $147,445.00          $164,987.50
Meeks, Wilson        Partner               25.50     $775           $18,870.00           $19,762.50    Opposition to Motion to Dismiss and Motion for Judicial Notice
                                                                                                       Day-to-day oversight of the litigation; Lead Plaintiff Motion and Hearing; Complaint;
                                                                                                       Opposition to Motion to Dismiss and Motion for Judicial Notice; Trial Preparation;
Weaver, Lesley       Partner              186.00    $1,050         $150,631.25          $195,300.00    Mediation and Settlement
                                                                                                       Staffing and managing workflows; deposition preparation; trial preparation; Mediation and
Simnowitz, Sara      Special Counsel        19.50    $780           $13,311.25           $15,210.00    Settlement
Aldridge, Emily      Associate              19.75    $625           $11,352.50           $12,343.75    Discovery litigation
Cibulka, Britt       Associate              24.50    $470           $11,515.00           $11,515.00    Discovery litigation and case management
Dennany, Nicholas    Associate              22.00    $605           $10,392.50           $13,310.00    Lead Plaintiff Motion; Complaint; case starting activities
Desai, Mili          Associate              22.50    $535           $12,037.50           $12,037.50    Lead Plaintiff Motion; Complaint; Opposition to Motion to Dismiss
English, Robyn       Associate              61.50    $535           $32,902.50           $32,902.50    Opposition to Motion for Judicial Notice
McMenomy, Jennifer   Associate              25.50    $390            $9,945.00            $9,945.00    Discovery
Moody, Janelle       Associate           1,092.00    $475         $503,593.75          $518,700.00     Discovery; discovery litigation; deposition preparation
Robertson, Kelsey    Paralegal              11.25    $350            $3,622.50            $3,937.50    Discovery and notices of appearance
Wax, David           Associate             660.50    $415         $238,016.25          $274,107.50     Discovery and deposition preparation
Weiler, Matthew      Associate             153.75    $655           $96,468.75          $100,706.25    Assisted with Complaint; discovery
                               TOTALS:   2,491.75                $1,260,103.75        $1,384,765.00
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                  Exhibit 2
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                    BLEICHMAR FONTI & AULD LLP – ATTORNEYS
                                 Principal Tasks

→ Partners

Joseph Fonti (167.5 hours): Mr. Fonti was involved in oversight of this Action from November
2016 through September 2021, beginning with the lead plaintiff process. He reviewed and
analyzed motion papers and routinely engaged in discussions with Class Counsel. Mr. Fonti
participated in developing case strategy. He performed an analysis of the merits of the case and
gathered factual evidence in support of the drafting of the Amended Complaint. He was involved
in briefing the Opposition to Defendant’s Request for Judicial Notice including conducting
research, developing arguments, reviewing, and revising motion papers, and participating in oral
argument before the Court. In addition, he was involved in discovery conferences, and provided
feedback and revisions to discovery requests and ESI protocols. Mr. Fonti provided comments and
revisions on the Motion for Class Certification and was also involved in mediation negotiations.

Wilson Meeks (25.5 hours): Mr. Meeks provided significant revisions and analysis regarding the
opposition briefing to Defendants’ Motion to Dismiss. He was also involved in briefing the
Opposition to Defendant’s Request for Judicial Notice.

Lesley Weaver (186.0 hours): Ms. Weaver was involved in the oversight and management of this
Action from November 2016 through September 2021. She performed an initial analysis of the
legal merits of the case and was involved with the lead plaintiff motion process. She reviewed and
revised motion papers, engaged in discussions with Mr. Fonti and Class Counsel, and participated
in oral arguments before the Court. Ms. Weaver participated in drafting the Oppositions to
Defendants’ Motion to Dismiss and Request for Judicial Notice and oversaw both filings. She also
organized and participated in case strategy calls with Class Counsel as well as engaged in meet-
and-confers with opposing counsel related to discovery disputes. Ms. Weaver undertook revising
and finalizing discovery requests and responses and engaged in related discovery disputes. Ms.
Weaver also was involved in briefing class certification and participated in oral argument before
the Court. She was actively involved in mediation negotiations and assisted with trial preparation.

→ Special Counsel

Sara Simnowitz (19.5 hours): Ms. Simnowitz analyzed and provided insight on various research
issues. Ms. Simnowitz also assisted with deposition preparation of defendants, including reviewing
relevant documents and memorandum. Ms. Simnowitz further handled case management
workflows and logistics for trial preparation.

→ Associate Attorneys

Emily Aldridge (19.75 hours): Ms. Aldridge finalized and handled multiple case filings,
including the opposition to Defendants’ Request for Judicial Notice, the Motion for Class
Certification, and various notices, stipulations, case management statements, and administrative
motions. In addition, she reviewed and revised Plaintiffs’ initial disclosures and discovery
requests, as well as conducted legal research in connection with discovery disputes.



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Britt Cibulka (24.5 hours): Ms. Cibulka performed work in connection with discovery. This
included conducting factual and legal research regarding ESI protocols, drafting related discovery
requests and responses, providing edits to deposition notices and correspondence, analyzing
proposed search strings, and reviewing produced documents. She also attended discovery-related
case management conferences, as well as meetings and conferences, both internal and with Class
Counsel.

Nicholas Dennany (22.0 hours): Mr. Dennany conducted research and evaluated potential claims
for the Consolidated Amended Complaint. Dennany reviewed analyst data and conducted factual
investigation for the Consolidated Amended Complaint.

Mili Desai (22.5 hours): Ms. Desai conducted factual and legal research in connection with the
Consolidated Amended Complaint. She also provided support in connection with the preparation,
editing, and filing of the Opposition to Defendants’ Motion to Dismiss.

Robyn English (61.5 hours): Ms. English researched and analyzed new factual developments
connected to the Consolidated Amended Complaint and drafted numerous memoranda on
noteworthy findings. She undertook a primary role in researching for, drafting, revising, and
finalizing the Opposition to Defendants’ Judicial Notice Request.

Jennifer McMenomy (25.5 hours): Ms. McMenomy drafted and analyzed discovery requests and
responses. She also assisted with filings and other litigation tasks.

Janelle Moody (1092.0 hours): Ms. Moody played a significant role in document discovery. In
addition to reviewing and analyzing thousands of documents, Ms. Moody also performed a second
level analysis of selected documents, prepared targeted searches in preparation of Defendants’
depositions, and drafted numerous memoranda regarding document analysis. Ms. Moody reviewed
and analyzed deposition transcripts in support of management of discovery and deposition
preparation. She also participated in various discovery calls with Class Counsel.

David Wax (660.5 hours): Mr. Wax played a meaningful role with regard to the discovery phase
of the litigation. Mr. Wax reviewed and analyzed thousands of documents in preparation for
Defendants’ depositions, and upon the taking of Defendants’ depositions, he then analyzed and
summarized the deposition transcripts. He also conducted legal research in anticipation of various
motion briefing throughout the case.

Matthew Weiler (153.75 hours): Mr. Weiler assisted with drafting and revising initial disclosures
and case management conference statements and attended case management conferences. Mr.
Weiler also finalized and filed various case documents. He participated in case strategy calls with
Class Counsel. Mr. Weiler conducted research regarding disclosure of confidential witnesses
during discovery. He also researched, drafted, and revised deposition notices, discovery requests
and responses, discovery memos, and letter briefs on discovery disputes.




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                BLEICHMAR FONTI & AULD LLP – SUPPORT STAFF
                              Principal Tasks

→ Paralegal

Kelsey Robertson (11.25 hours): Ms. Robertson performed paralegal work, including drafting
notices of appearances and assisting with deposition preparation.




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                  Exhibit 3
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                  Exhibit 4
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                                                                                                                            EXHIBIT 4

                                                                                                In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                                 Bleichmar Fonti & Auld LLP
                                                                                                       Category Lodestar Chart by Timekeeper and Month
                                                                                                            November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                     7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                 8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                 9. Appeal
4. Court Appearances                                                                                                                         10. Trial Preparation
5. Initial or Amended Complaint                                                                                                              11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                          TOTAL SUM OF                   LODESTAR AT                LODESTAR AT
            TIMEKEEPER                         1          2          3          4    5             6           7           8            9         10          11             HOURS       HISTORIC RATE HISTORIC RATE CURRENT RATE CURRENT RATE
Aldridge, Emily - Associate                                                                                                                                                        19.75                      $11,352.50                 $12,343.75
    August 2017                                                0.5         1                                                                                                         1.5         $560.00         $840.00    $625.00         $937.50
    October 2017                                                 2                                                                                                                     2         $560.00       $1,120.00    $625.00       $1,250.00
    December 2017                                              4.5                                                                                                                   4.5         $560.00       $2,520.00    $625.00       $2,812.50
    January 2018                                               0.5                                                                                                   1               1.5         $560.00         $840.00    $625.00         $937.50
    February 2018                                                        2.75                                                                                                       2.75         $560.00       $1,540.00    $625.00       $1,718.75
    March 2018                                                                                                                                                     1.75             1.75         $560.00         $980.00    $625.00       $1,093.75
    May 2018                                                                                                                                                       0.25             0.25         $560.00         $140.00    $625.00         $156.25
    December 2018                                              0.5                                                                                                  0.5                1         $560.00         $560.00    $625.00         $625.00
    April 2019                                                 4.5                                                                                                                   4.5         $625.00       $2,812.50    $625.00       $2,812.50

Cibulka, Britt - Associate                                                                                                                                                             24.5                          $11,515.00             $11,515.00
    November 2017                                             4.75                                                                                                                     4.75                $470.00    $2,232.50   $470.00    $2,232.50
    December 2017                                              1.5                                                                                                   3                  4.5                $470.00    $2,115.00   $470.00    $2,115.00
    January 2018                                              8.75                                                                                                   6                14.75                $470.00    $6,932.50   $470.00    $6,932.50
    February 2018                                              0.5                                                                                                                      0.5                $470.00      $235.00   $470.00      $235.00

Dennany, Nicholas - Associate                                                                                                                                                            22                          $10,392.50             $13,310.00
    November 2016                                  7.25                                                                                                                                7.25                $470.00    $3,407.50   $605.00    $4,386.25
    December 2016                                  9.75                                   1.5                                                                                         11.25                $470.00    $5,287.50   $605.00    $6,806.25
    January 2017                                                                          0.5                                                                                           0.5                $485.00      $242.50   $605.00      $302.50
    February 2017                                                                        0.75                                                                                          0.75                $485.00      $363.75   $605.00      $453.75
    May 2017                                                                              1.5                                                                                           1.5                $485.00     $727.50    $605.00     $907.50
    July 2017                                                             0.5                                                                                                           0.5                $485.00      $242.50   $605.00      $302.50
    November 2017                                                                                                                                                  0.25                0.25                $485.00      $121.25   $605.00      $151.25

Desai, Mili - Associate                                                                                                                                                                22.5                          $12,037.50             $12,037.50
    November 2016                                  11.5                                  2.75                                                                                         14.25                $535.00      7623.75   $535.00      7623.75
    February 2017                                                                        0.25                                                                                          0.25                $535.00       133.75   $535.00       133.75
    March 2017                                                                              3                                                                                             3                $535.00         1605   $535.00         1605
    June 2017                                                             4.5                                                                                                           4.5                $535.00       2407.5   $535.00       2407.5
    July 2017                                                                             0.5                                                                                           0.5                $535.00        267.5   $535.00        267.5

English, Robyn - Associate                                                                                                                                                             61.5                          $32,902.50             $32,902.50



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                                                                                                                                EXHIBIT 4

                                                                                                    In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                                     Bleichmar Fonti & Auld LLP
                                                                                                           Category Lodestar Chart by Timekeeper and Month
                                                                                                                November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                         7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                     8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                     9. Appeal
4. Court Appearances                                                                                                                             10. Trial Preparation
5. Initial or Amended Complaint                                                                                                                  11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                              TOTAL SUM OF                      LODESTAR AT                LODESTAR AT
            TIMEKEEPER                         1          2          3           4       5             6           7           8            9         10          11             HOURS          HISTORIC RATE HISTORIC RATE CURRENT RATE CURRENT RATE
    December 2016                                                                              3                                                                                              3         $535.00       $1,605.00    $535.00       $1,605.00
    January 2017                                   0.25                                                                                                                 0.5                0.75         $535.00         $401.25    $535.00         $401.25
    February 2017                                  0.75                                                                                                                                    0.75         $535.00         $401.25    $535.00         $401.25
    March 2017                                      1.5                                                                                                                   2                 3.5         $535.00       $1,872.50    $535.00       $1,872.50
    April 2017                                                                                                                                                          2.5                 2.5         $535.00       $1,337.50    $535.00       $1,337.50
    May 2017                                                             50.75                                                                                         0.25                  51         $535.00      $27,285.00    $535.00      $27,285.00

Fonti, Joseph - Partner                                                                                                                                                                   167.5                          $147,445.00             $164,987.50
    November 2016                                   1.5                                       3.5                      0.75                                                                5.75                $880.00     $5,060.00   $985.00     $5,663.75
    December 2016                                   3.5                          19.25          6                      0.75                                            0.25               29.75                $880.00    $26,180.00   $985.00    $29,303.75
    January 2017                                                                               14                                                                      0.75               14.75                $880.00    $12,980.00   $985.00    $14,528.75
    February 2017                                                                              25                                                                      0.75               25.75                $880.00    $22,660.00   $985.00    $25,363.75
    March 2017                                                                               4.75                       0.5                                               2                7.25                $880.00     $6,380.00   $985.00     $7,141.25
    May 2017                                                             17.75                                                                                                            17.75                $880.00    $15,620.00   $985.00    $17,483.75
    June 2017                                                             4.25                                                                                                             4.25                $880.00     $3,740.00   $985.00     $4,186.25
    October 2017                                                 6        0.75       7                                   2                                             3.75                19.5                $880.00    $17,160.00   $985.00    $19,207.50
    November 2017                                             11.5                                                       2                                                                 13.5                $880.00    $11,880.00   $985.00    $13,297.50
    December 2017                                                3                                                                                                                            3                $880.00     $2,640.00   $985.00     $2,955.00
    January 2018                                              2.75                                                                                                                         2.75                $880.00     $2,420.00   $985.00     $2,708.75
    February 2018                                              2.5                                                                                                                          2.5                $880.00     $2,200.00   $985.00     $2,462.50
    March 2018                                                1.25                                                                                                                         1.25                $880.00     $1,100.00   $985.00     $1,231.25
    April 2018                                                            2.75                                                                                                             2.75                $880.00     $2,420.00   $985.00     $2,708.75
    May 2018                                                              3.25                                                                                                             3.25                $880.00     $2,860.00   $985.00     $3,201.25
    June 2018                                                  0.5                                                                                                                          0.5                $880.00       $440.00   $985.00       $492.50
    July 2018                                                             1.25                                                                                         0.75                   2                $880.00     $1,760.00   $985.00     $1,970.00
    August 2018                                                                                                        0.25        3.75                                0.75                4.75                $880.00     $4,180.00   $985.00     $4,678.75
    September 2018                                                                                                                  3.5                                                     3.5                $880.00     $3,080.00   $985.00     $3,447.50
    February 2019                                             2.25                                                                                                                         2.25                $895.00     $2,013.75   $985.00     $2,216.25
    April 2019                                                 0.5                                                     0.25                                                                0.75                $895.00       $671.25   $985.00       $738.75

McMenomy, Jennifer - Associate                                                                                                                                                             25.5                            $9,945.00               $9,945.00
   November 2017                                                           1.5                                                                                          0.5                   2                $390.00       $780.00   $390.00       $780.00
   December 2017                                                2                             2.5                                                                                           4.5                $390.00     $1,755.00   $390.00     $1,755.00



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                                                                                                                    EXHIBIT 4

                                                                                        In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                         Bleichmar Fonti & Auld LLP
                                                                                               Category Lodestar Chart by Timekeeper and Month
                                                                                                    November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                             7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                         8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                         9. Appeal
4. Court Appearances                                                                                                                 10. Trial Preparation
5. Initial or Amended Complaint                                                                                                      11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                  TOTAL SUM OF                   LODESTAR AT                LODESTAR AT
            TIMEKEEPER                         1   2          3          4    5            6           7           8            9         10          11             HOURS       HISTORIC RATE HISTORIC RATE CURRENT RATE CURRENT RATE
    January 2018                                       10.5                       4.5                                                                                        15          $390.00       $5,850.00    $390.00       $5,850.00
    February 2018                                                                   4                                                                                          4         $390.00       $1,560.00    $390.00       $1,560.00

Meeks, Wilson - Partner                                                                                                                                                        25.5                           $18,870.00              $19,762.50
   May 2017                                                         8                                                                                                             8                $740.00     $5,920.00   $775.00     $6,200.00
   June 2017                                                       11             6.5                                                                                          17.5                $740.00    $12,950.00   $775.00    $13,562.50

Moody, Janelle - Associate                                                                                                                                                     1092                          $503,593.75             $518,700.00
   January 2018                                           8                                                                                                 1.5                  9.5               $450.00     $4,275.00   $475.00     $4,512.50
   February 2018                                       7.75         1                                                                                                           8.75               $450.00     $3,937.50   $475.00     $4,156.25
   March 2018                                           7.5                                                                                                                      7.5               $450.00     $3,375.00   $475.00     $3,562.50
   April 2018                                                     1.25                                                                                     2.25                  3.5               $450.00     $1,575.00   $475.00     $1,662.50
   May 2018                                            35                                                                                                   0.5                35.5                $450.00    $15,975.00   $475.00    $16,862.50
   June 2018                                       142.25                                                                                                  0.75                  143               $450.00    $64,350.00   $475.00    $67,925.00
   July 2018                                        147.5           1                                                                                         1               149.5                $450.00    $67,275.00   $475.00    $71,012.50
   August 2018                                      102.5                                                   6.5        6.25                                0.25               115.5                $450.00    $51,975.00   $475.00    $54,862.50
   September 2018                                    63.5                                                                10                                                    73.5                $450.00    $33,075.00   $475.00    $34,912.50
   October 2018                                     23.75                                                   1.5                                            0.75                   26               $450.00    $11,700.00   $475.00    $12,350.00
   November 2018                                       12                                                  0.25                                                               12.25                $450.00     $5,512.50   $475.00     $5,818.75
   December 2018                                    19.75                                                                                                                     19.75                $450.00     $8,887.50   $475.00     $9,381.25
   January 2019                                    103.75                                                                                                                    103.75                $475.00    $49,281.25   $475.00    $49,281.25
   February 2019                                   114.25                                                                                                                    114.25                $475.00    $54,268.75   $475.00    $54,268.75
   March 2019                                       45.25                                                                                                                     45.25                $475.00    $21,493.75   $475.00    $21,493.75
   April 2019                                       42.25                                                                                                                     42.25                $475.00    $20,068.75   $475.00    $20,068.75
   May 2019                                         21.25                                                                                                                     21.25                $475.00    $10,093.75   $475.00    $10,093.75
   June 2019                                        33.75                                                                                                                     33.75                $475.00    $16,031.25   $475.00    $16,031.25
   July 2019                                        12.25                                                                                                                     12.25                $475.00     $5,818.75   $475.00     $5,818.75
   August 2019                                        4.5                                                  0.25                                            5.75                10.5                $475.00     $4,987.50   $475.00     $4,987.50
   September 2019                                                 36.5                                                                                                         36.5                $475.00    $17,337.50   $475.00    $17,337.50
   October 2019                                        27.5       40.5                                                                                                            68               $475.00    $32,300.00   $475.00    $32,300.00

Robertson, Kelsey - Paralegal                                                                                                                                                 11.25                            $3,622.50               $3,937.50
    July 2018                                           2.5                                                                                                0.25                2.75                $290.00      $797.50    $350.00      $962.50



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                                                                                                                            EXHIBIT 4

                                                                                                In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                                 Bleichmar Fonti & Auld LLP
                                                                                                       Category Lodestar Chart by Timekeeper and Month
                                                                                                            November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                     7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                 8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                 9. Appeal
4. Court Appearances                                                                                                                         10. Trial Preparation
5. Initial or Amended Complaint                                                                                                              11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                        TOTAL SUM OF                   LODESTAR AT                LODESTAR AT
            TIMEKEEPER                         1       2          3          4       5             6           7           8            9         10          11           HOURS       HISTORIC RATE HISTORIC RATE CURRENT RATE CURRENT RATE
    September 2018                                          0.5                                                                                                                    0.5         $290.00        $145.00     $350.00        $175.00
    December 2018                                             1                  1                                                                                                   2         $290.00        $580.00     $350.00        $700.00
    January 2019                                            0.5                          0.25                                                                                     0.75         $350.00        $262.50     $350.00        $262.50
    February 2019                                             2                          0.25                                                                         1           3.25         $350.00       $1,137.50    $350.00       $1,137.50
    April 2019                                             0.25                                                                                                     0.5           0.75         $350.00        $262.50     $350.00        $262.50
    September 2019                                                                       1.25                                                                                     1.25         $350.00        $437.50     $350.00        $437.50

Simnowitz, Sara - Special Counsel                                                                                                                                                      19.5                           $13,311.25              $15,210.00
    November 2016                                                      3.5                                                                                                              3.5                $640.00     $2,240.00   $780.00     $2,730.00
    December 2016                                                                          3                                                                                              3                $640.00     $1,920.00   $780.00     $2,340.00
    December 2017                                                                                                  0.5                                                                  0.5                $640.00      $320.00    $780.00       $390.00
    January 2018                                            0.5                                                                                                                         0.5                $640.00       $320.00   $780.00       $390.00
    February 2018                                                     0.75                                                                                                             0.75                $640.00       $480.00   $780.00       $585.00
    March 2018                                                                                                                                                     1.75                1.75                $640.00     $1,120.00   $780.00     $1,365.00
    April 2018                                                           1                                                                                                                1                $640.00       $640.00   $780.00       $780.00
    December 2018                                                      0.5                                                                                                              0.5                $640.00      $320.00    $780.00       $390.00
    January 2019                                              1                                                                                                                           1                $675.00       $675.00   $780.00       $780.00
    February 2019                                             1                                                                                                                           1                $675.00       $675.00   $780.00       $780.00
    April 2019                                             0.75                                                                                                                        0.75                $675.00       $506.25   $780.00       $585.00
    August 2021                                                                                                                                          1         0.75                1.75                $780.00     $1,365.00   $780.00     $1,365.00
    September 2021                                                                                                                                     3.5                              3.5                $780.00     $2,730.00   $780.00     $2,730.00

Wax, David - Associate                                                                                                                                                                660.5                          $238,016.25             $274,107.50
   January 2019                                    4   108.25                                                                                                                        112.25                $360.00    $40,410.00   $415.00    $46,583.75
   February 2019                                       132.25                                                                                                                        132.25                $360.00    $47,610.00   $415.00    $54,883.75
   March 2019                                             103                                                                                                                           103                $360.00    $37,080.00   $415.00    $42,745.00
   April 2019                                          130.25                                                                                                       0.5              130.75                $360.00    $47,070.00   $415.00    $54,261.25
   May 2019                                              39.5                                                                                                                          39.5                $360.00    $14,220.00   $415.00    $16,392.50
   June 2019                                               72           2                                                                                                                74                $360.00    $26,640.00   $415.00    $30,710.00
   July 2019                                             57.5                                                                                                                          57.5                $360.00    $20,700.00   $415.00    $23,862.50
   August 2019                                            4.5                                                                                                                           4.5                $360.00     $1,620.00   $415.00     $1,867.50
   January 2020                                                       6.25                                                                                                             6.25                $395.00     $2,468.75   $415.00     $2,593.75
   June 2020                                                0.5                                                                                                                         0.5                $395.00       $197.50   $415.00       $207.50



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                                                                                                                                  EXHIBIT 4

                                                                                                      In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                                       Bleichmar Fonti & Auld LLP
                                                                                                             Category Lodestar Chart by Timekeeper and Month
                                                                                                                  November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                           7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                       8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                       9. Appeal
4. Court Appearances                                                                                                                               10. Trial Preparation
5. Initial or Amended Complaint                                                                                                                    11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                                TOTAL SUM OF                        LODESTAR AT                             LODESTAR AT
            TIMEKEEPER                         1          2          3          4          5             6           7           8            9         10          11             HOURS             HISTORIC RATE HISTORIC RATE         CURRENT RATE      CURRENT RATE

Weaver, Lesley - Partner                                                                                                                                                                      186                          $150,631.25                         $195,300.00
   November 2016                                   0.75                                        6.25                      1.75                                                                8.75                $800.00     $7,000.00         $1,050.00         $9,187.50
   December 2016                                                                    1.75                                    6                                                                7.75                $800.00     $6,200.00         $1,050.00         $8,137.50
   January 2017                                                                                2.25                                                                                          2.25                $800.00     $1,800.00         $1,050.00         $2,362.50
   February 2017                                                                                                            1                                                                    1               $800.00       $800.00         $1,050.00         $1,050.00
   April 2017                                                                                                             0.5                                                                 0.5                $800.00       $400.00         $1,050.00           $525.00
   May 2017                                                              2.75                                               1                                                                3.75                $800.00     $3,000.00         $1,050.00         $3,937.50
   June 2017                                                              2.5                                             0.5                                                                    3               $800.00     $2,400.00         $1,050.00         $3,150.00
   July 2017                                                             0.75                                             0.5                                             1.5                2.75                $800.00     $2,200.00         $1,050.00         $2,887.50
   August 2017                                                                                 0.75                                                                                          0.75                $800.00       $600.00         $1,050.00          $787.50
   September 2017                                                                                                                                                          1                     1               $800.00       $800.00         $1,050.00         $1,050.00
   October 2017                                               2.25       2.25                                            3.75                                                                8.25                $800.00     $6,600.00         $1,050.00         $8,662.50
   November 2017                                   0.75          8                                                        0.5                                                                9.25                $800.00     $7,400.00         $1,050.00         $9,712.50
   December 2017                                              9.25       0.75                  4.25                                                                       0.5               14.75                $800.00    $11,800.00         $1,050.00        $15,487.50
   January 2018                                     4.5         18                                                        4.5        0.75                                 2.5               30.25                $800.00    $24,200.00         $1,050.00        $31,762.50
   February 2018                                                 4        1.5                   0.5                       2.5                                                                  8.5               $800.00     $6,800.00         $1,050.00         $8,925.00
   March 2018                                                  1.5                                                                                                                            1.5                $800.00     $1,200.00         $1,050.00         $1,575.00
   April 2018                                                            3.25                   0.5                                                                                          3.75                $800.00     $3,000.00         $1,050.00         $3,937.50
   May 2018                                                      1          2         1                                                                                   4.5                  8.5               $800.00     $6,800.00         $1,050.00         $8,925.00
   June 2018                                                     1                                                                                                                               1               $800.00       $800.00         $1,050.00         $1,050.00
   July 2018                                                     3                    3                                                 1                                 2.5                 9.5                $800.00     $7,600.00         $1,050.00         $9,975.00
   August 2018                                                   3       1.25                                                        3.25                                                     7.5                $800.00     $6,000.00         $1,050.00         $7,875.00
   September 2018                                             4.75                             1.25                                  7.75                                 1.5               15.25                $800.00    $12,200.00         $1,050.00        $16,012.50
   October 2018                                                                                0.75                       0.5                                            0.75                    2               $800.00     $1,600.00         $1,050.00         $2,100.00
   November 2018                                              0.25                                                                                                                           0.25                $800.00       $200.00         $1,050.00           $262.50
   December 2018                                              2.25       0.25        0.5        1.5                                                                                            4.5               $800.00     $3,600.00         $1,050.00         $4,725.00
   January 2019                                               3.75                                                                                                                           3.75                $840.00     $3,150.00         $1,050.00         $3,937.50
   February 2019                                              2.25                                                                                                         1                 3.25                $840.00     $2,730.00         $1,050.00         $3,412.50
   March 2019                                                                       1.25        0.5                                                                                          1.75                $840.00     $1,470.00         $1,050.00         $1,837.50
   May 2019                                                      1                                                                                                                               1               $840.00       $840.00         $1,050.00         $1,050.00
   July 2019                                                  2.25                                                                                                                           2.25                $840.00     $1,890.00         $1,050.00         $2,362.50
   August 2019                                                            1.5                                                                                                                 1.5                $840.00     $1,260.00         $1,050.00         $1,575.00



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                                                                                                                                     EXHIBIT 4

                                                                                                         In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                                          Bleichmar Fonti & Auld LLP
                                                                                                                Category Lodestar Chart by Timekeeper and Month
                                                                                                                     November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                                  7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                              8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                              9. Appeal
4. Court Appearances                                                                                                                                      10. Trial Preparation
5. Initial or Amended Complaint                                                                                                                           11. Case Management
6. Client / Shareholder Communications

                                                                                                                                                                                     TOTAL SUM OF                   LODESTAR AT                 LODESTAR AT
            TIMEKEEPER                         1          2           3           4          5              6           7           8            9            10           11           HOURS       HISTORIC RATE HISTORIC RATE CURRENT RATE CURRENT RATE
    September 2019                                                          1                                                                                                   0.25           1.25         $840.00       $1,050.00   $1,050.00       $1,312.50
    January 2020                                                                                                                                                   3.75                        3.75         $840.00       $3,150.00   $1,050.00       $3,937.50
    February 2020                                                                                    2                                                             2.75                        4.75         $840.00       $3,990.00   $1,050.00       $4,987.50
    May 2020                                                                                      1.25                                                                                         1.25         $840.00       $1,050.00   $1,050.00       $1,312.50
    July 2021                                                                                                               0.75                                                               0.75         $885.00         $663.75   $1,050.00         $787.50
    August 2021                                                                                                                                                     0.5                         0.5         $975.00         $487.50   $1,050.00         $525.00
    September 2021                                                                                                                                                    4                           4         $975.00       $3,900.00   $1,050.00       $4,200.00

Weiler, Matthew - Associate                                                                                                                                                                      153.75                              $96,468.75              $100,706.25
    October 2017                                              16.25       2.75        4.75                                  2.25                                                 5.5               31.5                 $625.00      $19,687.50   $655.00      $20,632.50
    November 2017                                              2.25                                                                                                                                2.25                 $625.00       $1,406.25   $655.00       $1,473.75
    December 2017                                             25.75        0.5                    2.75                      1.25                                                                  30.25                 $625.00      $18,906.25   $655.00      $19,813.75
    January 2018                                                 12                   3.25        0.75                         2                                                0.25              18.25                 $625.00      $11,406.25   $655.00      $11,953.75
    February 2018                                              0.75        0.5                     1.5                                                                          1.25                  4                 $625.00       $2,500.00   $655.00       $2,620.00
    March 2018                                                 3.25                     3        18.75                       0.5                                                   1               26.5                 $625.00      $16,562.50   $655.00      $17,357.50
    April 2018                                                 1.25       5.75                                              3.25                                                                  10.25                 $625.00       $6,406.25   $655.00       $6,713.75
    May 2018                                                   3.25          2                     0.5                                                                          0.25                  6                 $625.00       $3,750.00   $655.00       $3,930.00
    June 2018                                                                                                               1.25                                                                   1.25                 $625.00         $781.25   $655.00         $818.75
    July 2018                                                   0.5       0.25        0.25        0.25                                                                                             1.25                 $625.00         $781.25   $655.00        $818.75
    September 2018                                                        1.75                                                           3.5                                                       5.25                 $625.00       $3,281.25   $655.00       $3,438.75
    October 2018                                                          1.25                                                                                                                     1.25                 $625.00         $781.25   $655.00         $818.75
    November 2018                                                1                                                                                                                                    1                 $625.00         $625.00   $655.00         $655.00
    December 2018                                                                                 2.25                                                                                             2.25                 $625.00       $1,406.25   $655.00       $1,473.75
    January 2019                                                 2                                 3.5                                                                                              5.5                 $655.00       $3,602.50   $655.00       $3,602.50
    February 2019                                                                                  5.5                                                                                              5.5                 $655.00       $3,602.50   $655.00       $3,602.50
    April 2019                                                  1.5                                                                                                                                 1.5                 $655.00         $982.50   $655.00         $982.50
GRAND TOTAL                                        46         1840     238.75          46     146.75            0        49.75       39.75            0            15.5      69.25              2491.75                           $1,260,103.75             $1,384,765.00

LODESTAR AT HISTORIC RATE                  $26,120.00 $830,220.00 $142,971.25 $36,471.25 $105,777.50                $35,501.25 $26,080.00                 $13,357.50 $43,605.00                                                   $1,260,103.75

LODESTAR AT CURRENT RATE                   $30,660.00 $902,812.50 $153,491.25 $41,450.00 $118,638.75        $0.00 $42,645.00 $30,540.00          $0.00 $15,060.00 $49,467.50                                                                                $1,384,765.00




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                                                                                                         EXHIBIT 5

                                                                           In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                Bleichmar Fonti & Auld LLP
                                                                                              Category Lodestar Chart by Month
                                                                                            November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                             7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                         8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                         9. Appeal
4. Court Appearances                                                                                                                 10. Trial Preparation
5. Initial or Amended Complaint                                                                                                      11. Case Management
6. Client / Shareholder Communications


                                                                                                                                                               TOTAL SUM OF    LODESTAR AT     LODESTAR AT
           MONTH                     1          2         3          4           5             6         7          8          9        10          11            HOURS       HISTORIC RATE CURRENT RATE
   November 2016                        21                     3.5                12.5                        2.5                                                        39.5       $25,331.25      $29,591.25
   December 2016                     13.25                                21      13.5                       6.75                                     0.25              54.75       $41,192.50      $48,192.50
   January 2017                       0.25                                       16.75                                                                1.25              18.25       $15,423.75      $17,595.00
   February 2017                      0.75                                          26                          1                                     0.75               28.5       $24,358.75      $27,402.50
   March 2017                          1.5                                        7.75                        0.5                                        4              13.75        $9,857.50      $10,618.75
   April 2017                                                                                                 0.5                                      2.5                  3        $1,737.50       $1,862.50
   May 2017                                               79.25                       1.5                       1                                     0.25                 82       $52,552.50      $55,813.75
   June 2017                                              22.25                       6.5                     0.5                                                       29.25       $21,497.50      $23,306.25
   July 2017                                               1.25                       0.5                     0.5                                        1.5             3.75        $2,710.00       $3,457.50
   August 2017                                      0.5       1                      0.75                                                                                2.25        $1,440.00       $1,725.00
   September 2017                                                                                                                                       1                   1          $800.00       $1,050.00
   October 2017                                   26.5        5.75   11.75                                      8                                    9.25               61.25       $44,567.50      $49,752.50
   November 2017                         0.75     26.5         1.5                                            2.5                                    0.75                  32       $23,820.00      $27,647.50
   December 2017                                    46        1.25                 9.5                       1.75                                     3.5                  62       $40,056.25      $45,328.75
   January 2018                           4.5       61                   3.25     5.25                        6.5       0.75                        11.25                92.5       $56,243.75      $65,047.50
   February 2018                                  15.5         6.5                   6                        2.5                                    1.25               31.75       $19,252.50      $22,262.50
   March 2018                                     13.5                     3     18.75                        0.5                                     4.5               40.25       $24,337.50      $26,185.00
   April 2018                                     1.25          14                 0.5                       3.25                                    2.25               21.25       $14,041.25      $15,802.50
   May 2018                                      39.25        7.25         1       0.5                                                                5.5                53.5       $29,525.00      $33,075.00
   June 2018                                    143.75                                                       1.25                                    0.75              145.75       $66,371.25      $70,286.25
   July 2018                                     153.5         2.5       3.25        0.25                               1                             4.5                 165       $78,213.75      $84,738.75
   August 2018                                   105.5        1.25                                           6.75   13.25                               1              127.75       $62,155.00      $67,416.25



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                                                                                                        EXHIBIT 5

                                                                          In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                               Bleichmar Fonti & Auld LLP
                                                                                             Category Lodestar Chart by Month
                                                                                           November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                            7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                        8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                        9. Appeal
4. Court Appearances                                                                                                                10. Trial Preparation
5. Initial or Amended Complaint                                                                                                     11. Case Management
6. Client / Shareholder Communications


                                                                                                                                                              TOTAL SUM OF    LODESTAR AT     LODESTAR AT
           MONTH                     1          2        3          4           5             6         7          8        9          10          11            HOURS       HISTORIC RATE CURRENT RATE
   September 2018                               68.75        1.75                   1.25                           24.75                                1.5               98       $51,781.25      $57,986.25
   October 2018                                 23.75        1.25                   0.75                       2                                        1.5            29.25       $14,081.25      $15,268.75
   November 2018                                13.25                                                       0.25                                                        13.5        $6,337.50       $6,736.25
   December 2018                                  23.5       0.75        1.5        3.75                                                                0.5               30       $15,353.75      $17,295.00
   January 2019                          4     219.25                               3.75                                                                                 227       $97,381.25     $104,447.50
   February 2019                                  254                               5.75                                                                 2            261.75      $112,037.50     $120,301.25
   March 2019                                  148.25                   1.25         0.5                                                                                 150       $60,043.75      $66,076.25
   April 2019                                     180                                                       0.25                                         1            181.25       $72,373.75      $79,711.25
   May 2019                                     61.75                                                                                                                  61.75       $25,153.75      $27,536.25
   June 2019                                   105.75          2                                                                                                      107.75       $42,671.25      $46,741.25
   July 2019                                       72                                                                                                                     72       $28,408.75      $32,043.75
   August 2019                                       9        1.5                                           0.25                                     5.75               16.5        $7,867.50       $8,430.00
   September 2019                                            37.5                   1.25                                                             0.25                 39       $18,825.00      $19,087.50
   October 2019                                  27.5        40.5                                                                                                         68       $32,300.00      $32,300.00
   November 2019                                                                                                                                                           0            $0.00           $0.00
   December 2019                                                                                                                                                           0            $0.00           $0.00
   January 2020                                              6.25                                                                        3.75                             10        $5,618.75       $6,531.25
   February 2020                                                                      2                                                  2.75                           4.75        $3,990.00       $4,987.50
   March 2020                                                                                                                                                              0            $0.00           $0.00
   April 2020                                                                                                                                                              0            $0.00           $0.00
   May 2020                                                                         1.25                                                                                1.25        $1,050.00       $1,312.50
   June 2020                                      0.5                                                                                                                    0.5          $197.50         $207.50



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                                                                                                EXHIBIT 5

                                                                    In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                      Bleichmar Fonti & Auld LLP
                                                                                    Category Lodestar Chart by Month
                                                                                  November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                      7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                  8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                  9. Appeal
4. Court Appearances                                                                                                          10. Trial Preparation
5. Initial or Amended Complaint                                                                                               11. Case Management
6. Client / Shareholder Communications


                                                                                                                                                      TOTAL SUM OF         LODESTAR AT      LODESTAR AT
          MONTH                      1         2      3        4          5          6          7          8          9          10          11          HOURS            HISTORIC RATE CURRENT RATE
  July 2020                                                                                                                                                             0             $0.00            $0.00
  August 2020                                                                                                                                                           0             $0.00            $0.00
  September 2020                                                                                                                                                        0             $0.00            $0.00
  October 2020                                                                                                                                                          0             $0.00            $0.00
  November 2020                                                                                                                                                         0             $0.00            $0.00
  December 2020                                                                                                                                                         0             $0.00            $0.00
  January 2021                                                                                                                                                          0             $0.00            $0.00
  February 2021                                                                                                                                                         0             $0.00            $0.00
  March 2021                                                                                                                                                            0             $0.00            $0.00
  April 2021                                                                                                                                                            0             $0.00            $0.00
  May 2021                                                                                                                                                              0             $0.00            $0.00
  June 2021                                                                                                                                                             0             $0.00            $0.00
  July 2021                                                                                         0.75                                                             0.75           $663.75          $787.50
  August 2021                                                                                                                       1.5        0.75                  2.25         $1,852.50        $1,890.00
  September 2021                                                                                                                    7.5                               7.5         $6,630.00        $6,930.00
GRAND TOTAL                              46    1840   238.75       46    146.75           0     49.75      39.75          0        15.5      69.25                2491.75     $1,260,103.75    $1,384,765.00




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                                                                                                               EXHIBIT 6

                                                                                 In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                                                    Bleichmar Fonti & Auld LLP
                                                                                               Category Lodestar Chart by Timekeeper
                                                                                               November 14, 2016 - September 20, 2021

Category Codes:
1. Factual Investigation                                                                                                                        7. Litigation Strategy & Analysis
2. Discovery (Fact & Expert)                                                                                                                    8. Settlement Negotiations, Stipulation, Plan of Allocation
3. Briefs, Pretrial Motions & Legal Research                                                                                                    9. Appeal
4. Court Appearances                                                                                                                            10. Trial Preparation
5. Initial or Amended Complaint                                                                                                                 11. Case Management
6. Client / Shareholder Communications


                                                                                                                                                                        TOTAL SUM OF      LODESTAR AT      LODESTAR AT
           TIMEKEEPER                          1           2          3          4         5          6           7          8          9           10         11          HOURS         HISTORIC RATE CURRENT RATE
  Aldridge, Emily - Associate                                  12.5       3.75                                                                                    3.5             19.75         $11,352.50       $12,343.75
  Cibulka, Britt - Associate                                   15.5                                                                                                 9               24.5        $11,515.00       $11,515.00
  Dennany, Nicholas - Associate                      17                  0.5                4.25                                                                 0.25                 22        $10,392.50       $13,310.00
  Desai, Mili - Associate                          11.5                  4.5                 6.5                                                                                    22.5        $12,037.50       $12,037.50
  English, Robyn - Associate                        2.5                50.75                   3                                                                 5.25               61.5        $32,902.50       $32,902.50
  Fonti, Joseph - Partner                             5    30.25          30     26.25     53.25                      6.5        7.25                               9             167.5        $147,445.00      $164,987.50
  McMenomy, Jennifer - Associate                            12.5         1.5                  11                                                                  0.5               25.5         $9,945.00        $9,945.00
  Meeks, Wilson - Partner                                                 19                 6.5                                                                                    25.5        $18,870.00       $19,762.50
  Moody, Janelle - Associate                              974.25       80.25                                          8.5    16.25                              12.75              1092        $503,593.75      $518,700.00
  Robertson, Kelsey - Paralegal                              6.75                    1         1.75                                                              1.75             11.25          $3,622.50        $3,937.50
  Simnowitz, Sara - Special Counsel                          3.25       5.75                      3                   0.5                                4.5      2.5               19.5        $13,311.25       $15,210.00
  Wax, David - Associate                             4    647.75        8.25                                                                                      0.5             660.5        $238,016.25      $274,107.50
  Weaver, Lesley - Partner                           6      67.5       19.75       7.5     21.75                  23.75      12.75                       11        16               186       $150,631.25      $195,300.00
  Weiler, Matthew - Associate                              69.75       14.75     11.25     35.75                   10.5        3.5                               8.25            153.75         $96,468.75     $100,706.25
GRAND TOTAL                                         46      1840      238.75        46    146.75           0      49.75      39.75          0         15.5      69.25           2491.75      $1,260,103.75    $1,384,765.00




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                                        Exhibit 7

           In re Twitter Inc. Securities Litigation, No. 4:16-cv-05314-JST (SK)

                              Bleichmar Fonti & Auld LLP

                                  Summary of Expenses

                        November 14, 2016 – September 20, 2021

                         CATEGORY                                       AMOUNT
Court Reporter Costs and Service & Filing Fees                          $1,316.45
Travel, Food and Lodging                                                $4,044.27
Postage & Express Mail                                                   $157.93
Computer Research                                                       $1,537.97
Photocopying & Printing                                                   $230

                                                         Total:          $7,286.62
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                                                                                         EXHIBIT 8

                                                             In re Twitter Inc. Securities Litigation , No. 4:16-cv-05314-JST (SK)

                                                                               Bleichmar Fonti & Auld LLP
                                                                     Detailed List of Expenses Organized by Categories

Date Paid              Description                                                                    Total                 Category
            11/18/2016 Transcript Fee - Tracy McGurk                                                  $             83.70   Court Reporter Costs and Service & Filing Fees
            12/20/2016 Filing Fee - US District Court                                                 $            310.00   Court Reporter Costs and Service & Filing Fees
             8/25/2017 Service Fee - Wheels of Justice                                                $            150.00   Court Reporter Costs and Service & Filing Fees
            10/10/2017 Transcript Fee - Pamela Batalo, CSR, Inc.                                      $            253.00   Court Reporter Costs and Service & Filing Fees
              2/6/2018 Service Fee - Wheels of Justice - Clerk H.L. Almacen                           $            148.00   Court Reporter Costs and Service & Filing Fees
             2/22/2018 Service Fee - Wheels of Justice - Serving Judge Tigar with Paperwork           $            164.25   Court Reporter Costs and Service & Filing Fees
             7/23/2018 Transcript Fee - Belle Ball - July 12, 2018 Hearing                            $            172.50   Court Reporter Costs and Service & Filing Fees
              1/9/2019 Lesley Weaver Hearing Call Charge                                              $             35.00   Court Reporter Costs and Service & Filing Fees
                       Joe Fonti travel to San Francisco for Lead Plaintiff Hearing held on 12/22/16.
                       (Uber $35.63; car Service $143.95; car Service $161.50; dinner $55; hotel
            12/22/2016 $400; airfare $991.20)                                                         $           1,787.28 Travel, Food and Lodging
                       Lesley Weaver Attendance at Lead Plaintiff Hearing held on 12/22/16. (parking
            12/22/2016 $18.00; parking for dinner meeting $27.00)                                     $              45.00 Travel, Food and Lodging
                       Joe Fonti travel to San Francisco for Motion to Dismiss Hearing held on
                       11/5/2017 (hotel $400; dinner $37.47; taxi $27.50; taxi $32.50; airfare
            11//5/2017 $579.50; taxi $15; taxi $45)                                                   $           1,136.97 Travel, Food and Lodging
                       Matt Weiler attendance at Motion to dismiss hearing held on 11/5/2017 (Lyft
             11/5/2017 $27.07; Lyft $7.01)                                                            $              34.08 Travel, Food and Lodging
                       Lesley Weaver Dinner with co-counsel Meghan Oliver from Motley Rice
              5/2/2018 (dinner $110)                                                                  $            110.00 Travel, Food and Lodging
             5/23/2018 Lesley Weaver attendance at CMC Meeting (parking $20)                          $             20.00 Travel, Food and Lodging
                       Lesley Weaver attendance at Class Certification Hearing held on 07/12/2018
             7/12/2018 (breakfast $8.97; parking $20)                                                 $              28.97 Travel, Food and Lodging
                       Lesley Weaver attendance at Mediation held on 09/26/18 (airfare $593.96;
            10/17/2018 lunch $30; airfare $207.20; Uber $39.38)                                       $            870.54 Travel, Food and Lodging
                       Lesley Weaver attendance at Discovery Hearing held on 7/11/2018 (Uber
             3/11/2019 $6.39; Uber $5.04)                                                             $             11.43   Travel, Food and Lodging
            11/21/2016 Fedex - US District Court Ohio - Tracy McGurk                                  $             27.52   Postage & Express Mail
            10/16/2017 Fedex                                                                          $             25.93   Postage & Express Mail
            12/11/2017 Fedex                                                                          $             17.50   Postage & Express Mail
            12/14/2017 Reimbursement to Matt Weiler for Courier to serve document requests            $             17.38   Postage & Express Mail
            12/18/2017 Fedex                                                                          $             11.55   Postage & Express Mail
            12/18/2017 Fedex                                                                          $             17.02   Postage & Express Mail
             7/30/2018 Fedex                                                                          $             26.72   Postage & Express Mail
             8/27/2018 Fedex                                                                          $             14.31   Postage & Express Mail
            05/30/2017 May 2017 Westlaw Charges                                                       $            372.20   Computer Research
            06/30/2017 June 2017 Westlaw Charges                                                      $             39.51   Computer Research
            10/30/2017 October 2017 Westlaw Charges                                                   $             26.89   Computer Research
            11/30/2017 November 2017 Westlaw                                                          $              8.14   Computer Research
            03/02/2018 Feb 2018 Westlaw Charges                                                       $             70.20   Computer Research
            03/30/2018 March 2018 Westlaw Charges                                                     $             15.48   Computer Research
            04/30/2018 April 2018 Westlaw Charges                                                     $             19.05   Computer Research
            05/31/2018 May 2018 Westlaw Charges                                                       $              2.36   Computer Research
            07/02/2018 June 2018 Westlaw Charges                                                      $             53.73   Computer Research
            07/30/2018 July 2018 Westlaw Charges                                                      $              5.11   Computer Research
            08/07/2018 4/1/2018 to 6/30/2018 Pacer Charges                                            $             35.80   Computer Research
            08/30/2018 August 2018 Westlaw Charges                                                    $             13.97   Computer Research
            10/01/2018 September 2018 Westlaw Charges                                                 $            123.52   Computer Research
            10/30/2018 October 2018 Westlaw Charges                                                   $              1.94   Computer Research
            11/30/2018 November 2018 Westlaw Charges                                                  $              2.00   Computer Research
            12/31/2018 Westlaw Reserch Services December 2018                                         $              5.04   Computer Research
            01/30/2019 January 2019 Westlaw Research                                                  $              7.07   Computer Research
            02/06/2019 Pacer Q4 2018                                                                  $              4.00   Computer Research
            03/04/2019 February 2019 Westlaw                                                          $              4.67   Computer Research
            04/01/2019 March 2019 Westlaw                                                             $              1.09   Computer Research
            04/30/2019 April 2019 Westlaw                                                             $             12.90   Computer Research
            05/07/2019 Q1 Pacer Reserch Charges Doc ID: 4852-8020-7512                                $              2.10   Computer Research
            05/30/2019 May 2019 Westlaw Reserch                                                       $              5.38   Computer Research
            07/01/2019 June 2019 Westlaw charges                                                      $              3.03   Computer Research
            07/30/2019 July 2019 Westlaw                                                              $              2.13   Computer Research
            09/03/2019 August 2019 Westlaw                                                            $              5.68   Computer Research
            09/30/2019 September 2019 Westlaw                                                         $              9.23   Computer Research
            10/30/2019 October 2019 Westlaw Charges                                                   $              7.51   Computer Research
            12/02/2019 November 2019 Westlaw                                                          $              9.79   Computer Research
            12/30/2019 December 2019 Westlaw Fee                                                      $              5.85   Computer Research
            01/30/2020 January 2020 Westlaw                                                           $              5.14   Computer Research
            03/03/2020 February 2020 Westlaw Charges                                                  $              5.90   Computer Research
            03/30/2020 March 2020 Westlaw Charges                                                     $              3.75   Computer Research
            04/30/2020 April 2020 Westlaw Research Charges                                            $              7.27   Computer Research
            05/06/2020 Q1 2020 Pacer Charges                                                          $              9.60   Computer Research
            06/01/2020 May 2020 Westlaw Research                                                      $              8.12   Computer Research
            07/01/2020 June 2020 Westlaw Charges                                                      $             11.41   Computer Research
            07/27/2020 July 2020 Westlaw Charges                                                      $              4.03   Computer Research




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Date Paid              Description                                              Total              Category
            08/05/2020 Q2 2020 Research Charges                                 $          3.00    Computer Research
            08/26/2020 August 2020 Westlaw Research                             $          4.91    Computer Research
            09/28/2020 September 2020 Research Services                         $          2.55    Computer Research
            10/26/2020 October 2020 Westlaw Charge                              $          1.83    Computer Research
            11/05/2020 Q3 2020 Pacer Research Charges                           $          8.10    Computer Research
            11/30/2020 November 2020 Westlaw Research Charges                   $          2.06    Computer Research
            12/28/2020 December 2020 Westlaw Research Charges                   $          2.96    Computer Research
            01/26/2021 January 2021 Westlaw Research Charges                    $          3.24    Computer Research
            02/10/2021 Q4 2020 Pacer Research                                   $          6.00    Computer Research
            02/26/2021 Feb 2021 Westlaw Research Charge                         $        528.46    Computer Research
            03/26/2021 March 2021 Westlaw Research Charge                       $          5.46    Computer Research
            04/26/2021 March 2021 Westlaw Charge                                $          4.87    Computer Research
            05/26/2021 May 2021 Westlaw Research Charge                         $          6.60    Computer Research
            06/28/2021 June 2021 Westlaw Research Charge                        $          6.54    Computer Research
            07/26/2021 July 2021 Westlaw Research Charge                        $          9.53    Computer Research
            08/26/2021 Aug 2021 Westlaw Research Charge                         $         11.27    Computer Research
             9/13/2018 Wheels of Justice - Courtesy Copies Delivery             $         50.00    Photocopying & Printing
             1/11/2019 Wheels of Justice - Courtesy Copies Delivery             $         55.00    Photocopying & Printing
             1/29/2019 Wheels of Justice - Courtesy Copies Delivery             $         50.00    Photocopying & Printing
              3/1/2019 Wheels of Justice - Courtesy Copies Delivery             $         75.00    Photocopying & Printing

                       Total                                                        $   7,286.62




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                  Exhibit 9
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                                    Arrow Transportation
                                                  11-17 43rd Avenue
                                               Long Island City, NY 11101
                                         Phone: 212-431-1900 Fax: 718-392-3989
                            Email: reservations@arrow-trans.com ;dispatch@arrow-trans.com
                                               Web: www.arrow-trans.com


                                                      Ride Receipt

    Bleichmar Fanti Auld Law                                                        Account#       : 742
    7 TIMES SQ                                                                      Invoice#       : CCB121216
    27TH FL                                                                         Inv Date       : 12/12/16
    NEW YORK, NY 11



 Date                                  Description                                   Charges                     Credits
            Res#: 391936      PU: LGA 802 DL
                              Drop: LARCHMONT NY 10538
12/08/16
            Pickup: 05:35PM Dropoff: 06:34PM Passenger: Fanti, Joseph

            Flat:                                                         SEDAN                $110,00
            Req By: Javier Bliechmar   Chauf: 0162
            WaitTime:                                               Wait Chg:
            Phone: - Mins                                                 Phone:
 Stops                                                                    Stops:                 $0.00
           �oucher# : E391936
           Client-Matter Number        aaaaa                                FUEL                 $5.50
                                                                           Tolls:                $9.75
                                                                        Acct Svc:                $4.00

                                                                            Tax:                $14.70
                                                                        Gratuity:                  $0.00
                                                                        Discount:
                                                                         Deposit:


                                                                   Ride Total:                 $143.95
            Paid By Credit Card VI
           xxxxxxxxxxxx2862                              Trip Amount Due:                       $0.00

   For the fastest way to get ride receipts, please go to www.arrow-trans.com I NYC Taxi & Limousine
                                     Commission Base License# B01309
Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 45 of 129




                                                                                        '\vJC~~
                                                                             Portsmouth Square Garage
                                                                   733 Kearny Street - San Francisco, CA 94108
                                                                     Phone: 415-982-6353 - Fax : 415-986-7567
                                                                            Business Li e. No.: 126283

                                                                 TR 467846 Tkt# 4648133 Op 3 augustus.m
                                                                 Entrance : 2016-12-21 20: 05        MN 1
                                    '\'1-l'~                     Exit     : 2016-12-22 11: 33        MN 6
                                         CALIFORNIA PARKING      Length of stay : o d 15 h 27 mn
                                           530 TURK srnEET       Regu lar Rate                   $               27 .00
                                      CPC Hece i1-1t               -------------------                      -- ---- ---
                                      l~:00
                                                                 Total                           $              27.00
                                     THIS IS YO UH HECE IPT      Credit Cat'd                    $              27.00
                                     Mete r: 03010760 -301076(   CC American Expr'ess                         xxxl039
                                     Tt- a ns: 01 6746
                                      Tirne : 2:30P M            Ref#                                         1237887
                                      Date : DEC 22 20 1h        Aut h#                                        520045
                                     P,· i ce :$ 18. 00
                                     Card: *********** 103Y
                                     Auth: 529907
                                                                 Signatu1'e:
                                      PEl--:M I T C:XP IRES:
                                                                                     Customer' Copy
                                      2:30AM FRI                                Thank You . Come again.
                                     DEC 23. 2016                                   Drive safe ly!

                                                                 Thi s t' eceipt does not 8t'ant exit Pt' ivil eges.
                                                                 Lost ticket pays maximum rate per day.
             Case 4:16-cv-05314-JST Document   661-2 Filed 10/13/22 Page 46 of 129
                                    Arrow Transportation
                                                  11-17 43rd Avenue
                                               Long Island City, NY 11101
                                         Phone: 212-431-1900 Fax: 718-392-3989
                            Email: reservations@arrow-trans.com ;dispatch@arrow-trans.com
                                               Web: www.arrow-trans.com


                                                        Ride Receipt

    Bleichmar Fonti Auld Law                                                        Account#       : 742
    7 TIMES SQ                                                                      Invoice#       : CCB122716
    27TH FL                                                                         Inv Date       : 12/26/16
    NEW YORK, NY 11




 Date                                 Description                                    Charges                     Credits
            Res#: 392156      PU: 10 Oxford Road LARCHMONT NY 10538
                              Drop: JFK
12/21/16
            Pickup: 06:00AM Dropoff: 08:04AM Passenger: Fanti, Joseph

            Flat:                                                         SEDAN                $125.00
            Req By: Michael Russo         Chauf: 2082
            WaitTime: -                                               Wait Chg:
            Phone: - Mins                                                 Phone:
 Stops                                                                    Stops:                 $0.00
           Voucher# : E392156
           Client-Matter Number       1013.001                              FUEL                 $6.25
                                                                           Tolls:                $9.75
                                                                        Acct Svc:                $4.00
                                                                            Tax:                $16.50
                                                                        Gratuity:                  $0.00
                                                                        Discount:
                                                                         Deposit:


                                                                    Ride Total:                $161.50
            Paid By Credit Card VI
                                                         Trip Amount Due:                       $0.00
           xxxxxxxxxxxx2862
   For the fastest way to get ride receipts, please go to www.arrow-trans.com I NYC Taxi & Limousine
                                     Commission Base License# BO 1309

                                                                6
                         Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 47 of 129



                Transaction Details Platinum Delta SkyMiles® / November 22, 2016 to December 14, 2016
                Prepared for
                Joseph Fonti
                Account Number
                XXXX-XXXXXX-71006

         Date       Description             Amount                            Extended Details                       Description          Client Matter
12/08/2016      LAGUARDIA USA -                       16.31 0271737 718-656-6210                                Biz Dev: Lunch for              9500.001
                NEW YORK, NY                                 718-656-6210                                       JAF re meeting with
                                                             Description                                        ARTRS
                                                             FAST FOOD RESTAURAN


12/08/2016      THE CAPITAL HOTEL -                   71.39 528001 RESTAURANT                                   Biz Dev: Bfast JB,             9500.001
                LITTLE ROCK, AR                              RESTAURANT                                         JAF, Cozen re meeting
                                                                                                                with ARTRS
12/07/2016      CANYON CREEK                          35.00 121509 TRAVEL AGENCY                                Twitter: Travel to Lead        1013.001
                TRAVEL -                                     TRAVEL AGENCY SERVICE                              Plaintiff hearing
                RICHARDSON, TX                               From: To: Carrier: Class:
                                                             N/A N/A YY
                                                             N/A
                                                             N/A
                                                             N/A
                                                             Ticket Number: 89006982318774
                                                             Passenger Name: FONTI/JOSEPH A
                                                             Document Type: TRAVEL AGENCY FEE


12/07/2016      CANYON CREEK                         956.20 121509 AIRLINE/AIR CARRIER                          Twitter: Travel to Lead        1013.001
                TRAVEL -                                     DELTA AIR LINES INC.                               Plaintiff hearing
                RICHARDSON, TX                               From: To: Carrier: Class:
                                                             N.Y. J F KENNEDY I SAN FRANCISCO INTL DL M
                                                               N.Y. J F KENNEDY I DL H
                                                             N/A
                                                             N/A
                                                             Ticket Number: 00679287897245 Date of Departure:
                                                            12/21
                                                             Passenger Name: FONTI/JOSEPH A
                                                             Document Type: PASSENGER TICKET
           Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 48 of 129




                                                                                       Amount
12/22/16    QUINCE RESTAURANT                          SAN FRANCISCO   CA
            RESTAURANT
            FOOD/BEVERAGE                     $89.07                        $55.00 Allowed
12122/16    RITZ-CARLTON                               SAN FRANCISCO   CA
            Arrival Date          Departure Date
            12/21/16
            00000000
                                  12/22/16                                  $400.00 Allowed
12/23/16    UBER *US DEC22 UJL3                        HELP.UBER.COM   CA                $35.63
            HELP.UBER.COM




                                                                            Continued on reverse
               Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 49 of 129
                                Canyon Creek Travel
                                Agency Address: Bill Wert / Mike Watts
                                Phone: 972-792-3657 Bill / 972-643-4917 Mike
                                BWERT@CCTRVL.COM


Electronic Invoice
Prepared For:
FONTI/JOSEPH A                                                   Ref:     U1-MULTI CM
     SALES PERSON                                                   72
     INVOICE NUMBER                                                 1403673
     INVOICE ISSUE DATE                                             26 Sep 2017
     RECORD LOCATOR                                                 AZQUQP
     CUSTOMER NUMBER                                                0010001150

 Client Address
 BLEICHMAR FONTI AND AULD LLP
 7 TIMES SQUARE, 27TH FLR
 NEW YORK NY 10036


 Notes
 ******************************************
 FOR EMERGENCY RESERVATIONS ASSISTANCE AFTER NORMAL
 BUSINESS HOURS PLEASE CALL 800-843-9550 AND USE
 CODE - S-N9K2. A 20.00 SERVICE FEE APPLIES FOR
 NON-EMERGENCY CALLS.
 ******************************************
 -------------- ACCOUNTING ---------------
 BASE COACH UPGRADABLE FARE 1159.10
 ***** TICKETS ARE NONREFUNDABLE. CHANGES ARE SUBJECT TO *****
 ***** AVAILABILITY / THE NEXT HIGHEST FARE AND A *****
 ***** 200.00 PENALTY. MINIMUM OR MAXIMUM STAY ******
 ***** REQUIRMENTS MAY AFFECT ANY CHANGES. *****
 ***** PLEASE REVIEW ITINERARY UPON RECIEPT.


DATE: Tue, Oct 03
Flight: DELTA AIR LINES INC 6139 Operated by: REPUBLIC AIRLINE-DL CONNECTION-DL SHUTTLE
From                  NEW YORK LGA,                       Departs                 10:00am
                      NY
To                    WASHINGTON                          Arrives                 11:36am
                      REAGAN, DC
Departure Terminal    A                                   Arrival Terminal        B
Duration              1hr(s) 36min(s)                     Class                   Economy
Type                  EMBRAER JET                         Meal                    No Meal Service
Stop(s)               Non Stop
Seat(s) Details       FONTI/JOSEPH A                      Seat(s) - 10C           DL - XXXXXXXX 55

DATE: Tue, Oct 03
Hotel: OMNI HOTELS, OMNI SHOREHAM HOTEL

Service City          WASHINGTON
                      REAGAN
Check-In              03 Oct                              Check-Out               04 Oct
Rooms(s)              1                                   Room Details            DELUXE ROOM 1
                                                                                  KING BED
Night(s)            1                                     Rate per Night
Confirmation Number 40029908678                           Approx. Total Price
                                                                                  INCLUDES TAXES AND SURCHARGES
CD-                   C1000605
Service Information                                       Member ID-              61229456
Guarantee             Guaranteed Late                     Phone
                  Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 50 of 129
                          Arrival


     TAX AND/OR SURCHARGE INFORMATION (USD)
             OCCUPANCY TAX
     TOTAL TAX
     TOTAL SURCHARGE



DATE: Wed, Oct 04
Flight: DELTA AIR LINES INC 98
From                      WASHINGTON               Departs               2:50pm
                          REAGAN, DC
To                        DETROIT METRO,           Arrives               4:26pm
                          MI
Departure Terminal        B                        Arrival Terminal      EM
Duration                  1hr(s) 36min(s)          Class                 Business
Type                      AIRBUS INDUSTRIE         Meal                  No Meal Service
                          A319 JET
Stop(s)                   Non Stop
Seat(s) Details           FONTI/JOSEPH A           Seat(s) - 01C         DL - XXXXXXXX 55

DATE: Wed, Oct 04
Flight: DELTA AIR LINES INC 1658
From                      DETROIT METRO,           Departs               5:55pm
                          MI
To                        SAN FRANCISCO,           Arrives               8:08pm
                          CA
Departure Terminal        EM                       Arrival Terminal      1
Duration                  5hr(s) 13min(s)          Class
Type                      BOEING 757 JET           Meal                  Dinner
Stop(s)                   Non Stop
Seat(s) Details           FONTI/JOSEPH A           Seat(s) - 04B         DL - XXXXXXXX 55

DATE: Wed, Oct 04
Hotel: HILTON HOTELS, HILTON SAN FRANCISCO

Service City              SAN FRANCISCO
Check-In                  04 Oct                   Check-Out             06 Oct
Rooms(s)                  1
Night(s)                  2                        Rate per Night        VARIED**
Confirmation Number       3392423526               Approx. Total Price
                                                                         INCLUDES TAXES AND SURCHARGES
                                                                         EXCLUDES INCIDENTALS
CD-                       8181000
Service Information                                Member ID-            795706335
Guarantee                 Guaranteed Late          Phone
                          Arrival


 **RATES AND EFFECTIVE DATES (USD)
                 EFFECTIVE 04OCT - 05OCT
                 EFFECTIVE 05OCT - 06OCT      $400.00 Allowed
     TAX AND/OR SURCHARGE INFORMATION (USD)
     TOTAL TAX
     TOTAL SURCHARGE



DATE: Fri, Oct 06
Flight: DELTA AIR LINES INC 470
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From                         SAN FRANCISCO,                                Departs                      12:55pm
                             CA
To                           NEW YORK JFK, NY                              Arrives                      9:35pm
Departure Terminal           1                                             Arrival Terminal             4
Duration                     5hr(s) 40min(s)                               Class                        Premium Economy
Type                         BOEING 767-300                                Meal                         Lunch
                             WINGLETS
Stop(s)                      Non Stop
Seat(s) Details              FONTI/JOSEPH A                                Seat(s) - 17G                DL - XXXXXXXX 55

DATE: Fri, M ar 30
Others
                                 SAN FRANCISCO
                                 THANK YOU FOR
                                 YOUR BUSINESS


Ticket Information
Ticket Number              DL 8655917711                Passenger             FONTI JOSEPH A
                                                        Billed to:            AX XXXXXXXXXXX1006                             USD
Service Fee                XD 0724579437                Passenger             FONTI JOSEPH A
                                                        Billed to:            AX XXXXXXXXXXX1006                             USD

                                                                                                                   SubTotal
                                                                                                      Net Credit Card Billing
                                                     Airfare: $579.50
                                                                                                            Total Amount Due

 ITINERARY NOTES:
 DELTA AIR LINES CONFIRMATION NUMBER - HHRB76


 The c arriage of c ertain hazardous materials, like aerosols, fireworks, and flammable liquids, aboard the airc raft is forbidden. If you do not
 understand these restric tions, further information may be obtained from your airline.

 Your travel arranger provides the information c ontained in this doc ument. If you have any questions about the c ontent, please c ontac t your travel
 arranger. For Credit Card Servic e fees, please see eTic ket rec eipt for total c harges.
                             Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page10  JS/;
                                                                                       52 of 129 or 3
  ®                                                                                                                                                                    HILTON SAN FRANCISCO UNION SQ�RE              Sy'£.,. ;                    T
 Hilton
   SAN FRANCISCO
                                                                                                                                                                       333 O'Farrell Street I San Francisco, CA I 94102 \
                                                                                                                                                                       T: 415 771 1400 I F: 415 771 6807
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                                                                                                                                                                                                                        �'1"E)__
    UNION SQUARE
                                                                                                                                                                       W: hilton.com
NAME AND ADDRESS:
FONT!, JOSEP H A                                                                                                                                     Room:               13383/K1E
                                                                                                                                                     Arrival Date:       10/4/2017 8:47:00 PM
                                                                                                                                                     Departure Date:     10/6/2017
                                                                                                                                                     Adult/Child:        0/0
                                                                                                                                                                         276.36


                                                                                                                                                                                                                           I Hilton I
                                                                                                                                                     Room Rate:


                                                                                                                                                Rate Plan:               HPPRP1
                                                                                                                                                HH#                      795•••••• GOLD
                                                                                                                                                AL:                      DL #231•••••••
                                                                                                                                                Car:

Confirmation Number: ••••••••••

                                                                                                                                                                                                                                   \\X
                                                                                                                                                                                                                                 WALDORF
10/5/2017
                                                                                                                                                                                                                                  ASTORIA"



DATE                            DESCRIPTION                                        ID                    REF. NO                                    CHARGES              CREDITS                              BALANCE          CONRAD


  9/26/2017      Advance Deposit                  CDEGUZMA 23682936
                 AX •1006                                                                                                                                                                                                      c.�.Q?pi;J"'
  10/4/2017      GUEST ROOM                       RKHEYO ,,,......,_i,.2371787\
                                                                                                                                             .>                                    c�tt 'f\"e
                                                                                                                                                                                  If l
  10/4/2017      CALIFORNIA                       RKHEYO                          '23717871
                                                                                                                                                                                                                                    .
                                                                                              �•Y: -�


                 TOURISM TAX                                                                                                                                                                                                    Hilton
                                                                                                                                       � u(5€��'fi�                                                                   ,!P        ,.., �

                                                                                                                                                                                                              w
  10/4/2017      CITY OCCUPANCY TAX               RKHEYO ..; ..• 23717.81,;1
                                                                                                                                                                                         \u
                                                                                                             !,
  10/4/2017      SF BUSINESS                      RKHEYQ,,. "2371VM',1
                 DISTRICT                                                                                                              � fL-L.vt                                                                                CL:IUO
                 ASSESSMNT                                        ,:,..,, ."': :-:: f.., '·                                        f:l
  10/5/2017      GUEST ROOM                       RKHEY0:-1.;· /� 237_i"�!'3,f2
  10/5/2017      CALIFORNIA                       RKHEY01 :, ._i'' 2372�3\2
                 TOURISM TAX                                             ...... . . � ......,•.
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  10/5/2017      CITY OCCUPANCY TAX               RKHEY&� ·. '!j7Q'231�
  10/5/2017      SF BUSINESS                      RKHE'(;O,•i •� .J:237�3��                                                                                                                                                    TAP�STRY


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                 DISTRICT                                                               i• �)..,
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                 ASSESSM NT                            j/ , ·--- 1: ••-.�:��••... \.         �j.;'\,

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                                                                                               °:"j:
                                                                                    �•.'•''!
                 WILL BE SETTLED
                 TO AX•1006                         �·                                       ;./                                            $400.00 Allowed
                                                                                                                                                 $O.OO

                 EFFECTIVE..BAC:f.NCE                      � .• co,.,                  ••· :·.._.,            ••••ff,';-�-·•·'   _               $0.00
  Hilton Honors(Bfstays ar�i 'ost�tl within 72 .hours :or:.�h'eckout. TO�Gheel< yb'uc (!�ruing�tof:book-'[your next stay at more than 5,000 hotels
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  and resorts in 100 countries:., please visit Honors.c6[!f� �/,, ·,                                                                                                                                                                hm·
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  Thank you for choosing Hilton.;iou'll ·get mofe·whg,if§oq' b0ok.·a'tre�tly with us - more destinations, more points, and more value. Book
  your next stay at hllton.cor1'-.-\ '. ,,,,,,,
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                                                                               �,:-;:;:


ACCOUNT NO.                                                                                                                                                             DATE OF CHARGE               FOLIO NO./CHECK NO.
                                                                                                                                                                                                   4381776 A


CARD MEMBER NAME                                                                                                                                                        AUTHORIZATION                           INITIAL

                                                                                                                                                                                                                                  Hilton
                                                                                                                                                                                                                              Grand Vacations
ESTABLISHMENT NO_ & LOCATION                      ESTABLISHMENT AGREES TO TRANSMIT TO CARD HOLDER FOR PAYMENT                                                           PURCHASES & SERVICES



                                                                                                                                                                        TAXES                                               -lf!ttt?.ril-
                                                                                                                                                                        TIPS & MISC.



CARD MEMBER'S SIGNATURE                                                                                                                                                 TOTAL AMOUNT


MERCHANDISE AND/OR SERVICES PURCHASED ON THIS CARD SHALL NOT BE RESOLD OR RETURNED FOR A CASH REFUND.                                                                   PAYMENT DUE UPON RECEIPT



                                                                          ®.         I\MUU,AS • CUlil:OPC , r.,1gpu Cot'H • 11,FRICI\ • MifA • I\U.HlllH/UIA
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                                                                      tV/3. oo (
                                            PASSENGER'S RECEIPT, TAXICAB FARE
                                                         Date   �   O .-- � - \ ---=r
                                                           Amount of Fare S _____

                                                           Other Charges S ____

                                                                            ss --
                                                           Total . . . . S -.....----

                                            Oriver's Narne _______    · _.,__
                                                                 C_. _¾\]_

                                            Cab Number      5-M> fsi�f;:;P-rt:'
                                                         -----      '"t-e>
                                              /C(�. O o'                     �g
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Orenstein, Gregory

From:                          Lesley Weaver <lesley.weaver@gmail.com>
Sent:                          Monday, June 11, 2018 12:17 PM
To:                            Orenstein, Gregory; receipts@concur.com
Subject:                       Fwd: How you enjoyed your Wednesday evening


Please bill to Twitter - dinner with Meghan Oliver
---------- Forwarded message ----------
From: Accounts @ The Battery <accounts@thebatterysf.com>
Date: Thu, May 3, 2018 at 12:55 AM
Subject: How you enjoyed your Wednesday evening
To: Lesley Weaver <lesley.weaver@gmail.com>




              RECEIPT 18045985                                                    THANK YOU!




              Lesley

              It was a pleasure to see you at The Battery. Here is a receipt for the amount charged
              to your membership account.


              05/02/2018                                 19:19

              Check:        18045985           Table:        31
              Server:       Sok Im             Guests:       2
              Terminal:     18

                    1 Cheese Plate
                    2 NY Steak
                    1 Little Gem Salad
                    1 Hot Rock
                    1 Brussels Sprouts


                                                         1
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      1 TURLEY15KIRSCH

               Subtotal
                   Tax
                    Tip
                  Total                             $110.00
                                                    Allowed
Member Charge
 5290 Weaver, Lesley

        GRAND TOTAL

05/02/2018                                  22:37


Looking forward to seeing you again soon.

The Battery




                                        2
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                                                                                                                 Total: $39.38
                                                                                                            Tue, Sep 25, 2018




                 Thanks for tipping, Lesley
                Here's your updated Tuesday
                afternoon ride receipt.




                  Total                                                                                    $39.38
                 Trip fare                                                                                           $34.38




                 Subtotal                                                                                            $34.38

                 Tip                                                                                                  $5.00




                Amount Charged

                                                                                â€¢â€¢â€¢â€¢ 3035 Switch           $34.38

                                                                                â€¢â€¢â€¢â€¢ 3035 Switch             $5.00

                 Download PDF
                  Download link expires 10/27/18
x i d b 1 5 5 7 5 f 8 - 0 6 8 a - 4 4 8 b - a 7 d 0 - 4 4 4 7 6 6 e 4 e 7 c 9
p G v l I 2 A N U b X F f y E O g x t a 1 R M V 0 8 2 9 9 3




                You rode with pardeep kumar
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                               4.96   Rating


                               Top Driver Compliment
                               "Excellent Service"



Issued on behalf of pardeep kumar




           Black     4.98 mi | 15 min


                03:26pm
                JWA Roadway, Santa Ana,
                CA


                03:41pm
                900 Newport Center Dr,
                Newport Beach, CA




                            Invite your friends and family.
                            Get a free ride worth up to $5 when you refer a
                            friend to try Uber. Share code: htc77




REPORT LOST ITEM Â ¯                  CONTACT SUPPORT Â ¯            MY TRIPS Â ¯
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                                        Uber Technologies
FAQ
                                        1455 Market St
Forgot password                         San Francisco, CA 94103

                                        Privacy

                                        Terms
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                          -�  1                          \�
                       �rrMETM DUCKS
                             1½1
                                JOHN W AYNE          �t�
                                      .
                     TERMINAL ID 261959
                    M e r c h a n t ID       �

                     Check#       5078
                     Table#       908
                     Serve,       2801 Marjorie
                     Acct Num     XXXXXXXXXXXX3035
                     Expiry Date **I**
                    Card Type    AMEX
                    Trans Type   Authorize
                    Trans Date   9/26/2018
                  I Trans Time   5: 16 PM
                    Entry Mode   swiped
                    Auth Code    501407
                 r

                  Subtotal               $

$30.00 Allowed
                                             --   -- -
                     GRATUITY:

                    TOTAL : _____ -

                   -------------------------------
                             Signature
                  I Agree to pay total amou
                  per the Card Issuer Agreemnt as
                                             ent.
                           Merchant Copy
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Robertson, Kelsey

From:                                                                                                                                  Uber Receipts <uber.us@uber.com>
Sent:                                                                                                                                  Tuesday, March 12, 2019 1:08 PM
To:                                                                                                                                    Weaver, Lesley
Subject:                                                                                                                               Thanks for tipping! We’ve updated your Monday afternoon trip receipt




                                                                                                                                                                                                                                          Total: $6.39
                 To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




                                                                                                                                                                                                                                    Mon, Mar 11, 2019




           Thanks for tipping, Lesley
           Here's your updated Monday
           afternoon ride receipt.
                                                                                                                                                                                         To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




           Total                                                                                                                                                                                         $6.39

           Trip Fare                                                                                                                                                                                                                                                                                           $5.50




           Subtotal                                                                                                                                                                                                                                                                                            $5.50

           Tolls, Surcharges, and Fees                                                                                                                                                                                                                                                                         $2.20

           Promotions                                                                                                                                                                                                                                                                                          -$2.31

           Tip                                                                                                                                                                                                                                                                                                 $1.00




           Amount Charged


                                                                                                                                                               1
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                                                                                                                                                                                                                                                                                              $5.39
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You rode with Siraji

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                                                                                                                                                                In ternet.




                                                                                                                                                                                                                                                                      4.94   Rating



                                                                                                                                                                                                                                                                      Top Driver Compliment

                                                                                                                                                                                                                                                                      "Excellent Service"




Transportation Network Company: Uber Technologies, Inc.




When you ride with Uber, your trips are insured in case of a covered
accident. Learn more.




                                                                                                                                                                                                                                                                                 2
                                                                     Case 4:16-cv-05314-JST Document 661-2 Filed 10/13/22 Page 73 of 129




                                                                                                                                                              02:32pm
                                                                                             UberX 309 Thomas
                                                                                                     0.91 mi | 5 Lmin
                                                                                                                   Berkley Way,
                                                                                                                                                              Oakland, CA



                                                                                                                                                              02:38pm
                                                                                                                                                              12th & Clay St, Oakland, CA




                                                                                                                                                                                                                                               Invite your friends and family.
                                                                                                                         To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




                                                                                                                                                                                                                                               Get $5 off your next ride when you refer a friend to
                                                                                                                                                                                                                                               try Uber. Share code: htc77




REPORT LOST ITEM ❯                                                                                                                                                                                                                                    CONTACT SUPPORT ❯                 MY TRIPS ❯




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                                                          Uber Technologies
FAQ
                                                          1455 Market St
Forgot password                                           San Francisco, CA 94103

                                                          Privacy
Read about our zero tolerance policy. Report a zero
                                                          Terms
tolerance complaint by visiting help.uber.com.




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Robertson, Kelsey

From:                                                                                                                                Uber Receipts <uber.us@uber.com>
Sent:                                                                                                                                Monday, March 11, 2019 2:02 PM
To:                                                                                                                                  Weaver, Lesley
Subject:                                                                                                                             [Business] Your Monday afternoon trip with Uber




                                                                                                                                                                                                                                        Total: $5.04
               To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




                                                                                                                                                                                                                                  Mon, Mar 11, 2019




           Thanks for riding, Lesley
           We hope you enjoyed your ride
           this afternoon.
                                                                                                                                                                                       To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




           Total                                                                                                                                                                                       $5.04
              You earned 30% off this ride! (up to $6)




           Trip Fare                                                                                                                                                                                                                                                                                         $5.00




           Subtotal                                                                                                                                                                                                                                                                                          $5.00

           Tolls, Surcharges, and Fees                                                                                                                                                                                                                                                                       $2.20

           Promotions                                                                                                                                                                                                                                                                                        -$2.16




           Amount Charged
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                                                                                                                                                                                                                                                                                                        $5.04
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pGvlI2ANUbXFfyEOgxta1RMV082993




You rode with Sukhsimran

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                                                                                                                                                                In ternet.
                                                                                                                                                                                                                                                                                              How was your ride?
                                                                                                                                                                                                                                                                      4.9   Rating
                                                                                                                                                                                                                                                                                               RATE OR TIP


                                                                                                                                                                                                                                                                      Top Driver Compliment

                                                                                                                                                                                                                                                                      "Great Conversation"




Transportation Network Company: Uber Technologies, Inc.




When you ride with Uber, your trips are insured in case of a covered
accident. Learn more.




                                                                                                                                                                                                                                                                                2
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                                                                                                                                                              01:56pm
                                                                                             UberX 1001
                                                                                                     0.84Broadway,
                                                                                                          mi | 5 minOakland, CA



                                                                                                                                                              02:01pm
                                                                                                                                                              Lake Merritt Plaza, Oakland,
                                                                                                                                                              CA




                                                                                                                                                                                                                                               Invite your friends and family.
                                                                                                                         To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




                                                                                                                                                                                                                                               Get $5 off your next ride when you refer a friend to
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REPORT LOST ITEM ❯                                                                                                                                                                                                                                    CONTACT SUPPORT ❯                 MY TRIPS ❯




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                                                          Uber Technologies
FAQ
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                                  CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on October 13, 2022, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the email addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                  s/ DANIEL S. DROSMAN
                                                  DANIEL S. DROSMAN

                                                  ROBBINS GELLER RUDMAN
                                                         & DOWD LLP
                                                  655 West Broadway, Suite 1900
                                                  San Diego, CA 92101-8498
                                                  Telephone: 619/231-1058
                                                  619/231-7423 (fax)

                                                  Email: ddrosman@rgrdlaw.com
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       m5:77ÿ46ÿ:ÿE,5/:77:ÿ
       ipPhYZWP[[Pj]SSTP_c]SbsPRVTVWXWS[V]Pj]SSTP_c]SbshYT̀YZPoTSnPoj]SSTP_c]SbsPRVTVWXaWS[V]PjP]RcnY]PZnZSc]Sb
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       vYWvjZXZpTYUc]Sbs[OSTVWpZYrPjZXZpTYUc]SbsPRVTP\pjZXZpTYUc]Sbs[rSPTiTjZXZpTYUc]SbsvYWvjP]Rc]S^Z[pZV̀Pc]Sb
       E4g/ÿ8IÿHd:5ÿ
       pU_PZh]j]SSTP_c]SbsPVTVWXS[V]Pj]SSTP_c]SbsPRVTVWXaWS[V]PjP]RcnY]PZnZSc]SbsPbYpZVXYTj]SSTP_c]Sb
       K,J5,ÿ+,5-:ÿL..-477ÿ
       TPTTVS[[j]SSTP_c]SbspRS\[PZj]SSTP_c]SbsPRVTVWXWS[V]Pj]SSTP_c]SbsPRVTVWXaWS[V]PjP]RcnY]PZnZSc]Sb
       E49:ygÿeIÿw4/7-ÿ
       hRSW[VjiRYTYUc]SbsP]RWS[VRV]Y[VSW\jiRYTYUc]SbsWpPWWYW_jiRYTYUc]Sb
       E,/:7ÿeÿx4@g6,/ÿ
       hXS]ObYWj\[iTYUc]SbsjRVTVWX\cpS]rP[iVZpc]Sbs][PZZV]SWPj\[iTYUc]Sb
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       rXSSpOYZ[j]SSTP_c]SbsPVTVWXS[V]Pj]SSTP_c]SbsPRVTVWXaWS[V]PjP]RcnY]PZnZSc]SbshnYTYXYWY\j]SSTP_c]Sb
       +,5@ÿx455-:ÿ
       bXSZZVPjnSbTYUc]Sb
       G45ÿx54/f450ÿ
       [SZXjZXZpTYUc]SbsVTPzvjZXZpTYUc]Sb
       +,|ÿM-q4.,J9ÿx5J:7l6,@g:5ÿ
       bXZ^P[obY]OPZjbS[TP_ZV]Pc]Sbs̀pY`V\jbS[TP_ZV]Pc]Sbsr^VTTVWjbS[TP_ZV]Pc]Sb
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       E,6:9ÿ+-@g,:.ÿJ0g:9ÿ
       hO^XOP\jbS[TP_ZV]Pc]SbsPZV]OYZp\jbS[TP_ZV]Pc]SbsrUPVTjbS[TP_ZV]Pc]Sb
       E49:ygÿ+,5@4ÿE,/49q-ÿx5,dÿ
       bhYWS\rVjZXZpTYUc]Sbsb\SWWP_jZXZpTYUc]Sbs[pP`ZVP\jZXZpTYUc]Sb
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      @:;@H<::A>K>H:9DEFC?GS:;@H<::A<FJEFCT>UH>;L<EFC?
      V-67W4XÿY2ÿZW[\7]4RR,ÿ
      J?FFC@L;::<A:9=9UC@EFC?G^_`9@KA:9=9UC@EFC?G:B;@9A:9=9UC@EFC?GH>CK<>IA:9=9UC@EFC?GabcadcecdfAJ;:;@KIEHCFg<U=;>HEFC?G<:<FU>C@;FF9I<J;:;@KA:9=9UC@EFC?
      h,67ÿZ4WO6,RÿZWi,,ÿ
      H<9@E?FK<<AIU=:9DEFC?
      j\76RÿM2ÿZ,ON6ÿ
      IC@9:E?<`U9AD;:?<>`9:<EFC?Gk<:;F;9ElCmAD;:?<>`9:<EFC?GD`HCFg<U;@KAD;:?<>`9:<EFC?Gn<;o<:Ep9:C@AD;:?<>`9:<EFC?G_:9;><Eq<>K<>C@AD;:?<>`9:<EFC?
      [O-4XN\rO,-ÿV-67W4XÿZ\-46-N/ÿ
      F?C>;9>UmA?CU:<m>;F<EFC?G:?F:9TK`:;@A?CU:<m>;F<EFC?GgD<;:A?CU:<m>;F<EFC?
      h674,RR,ÿjst677,ÿZ/,-Xÿ
      H?m<>IA>K>H:9DEFC?GI`9D@DA>K>H:9DEFC?GH?m<>IA<FJEFCT>UH>;L<EFC?G<uJ;:<uIHA>K>H:9DEFC?
      v4RR46.ÿw2ÿM6-x\RQÿ
      =@9>DC:HA?CU:<m>;F<EFC?G?89I;@Ig;A?CU:<m>;F<EFC?G989@<::<A?CU:<m>;F<EFC?
      jN,rO,7ÿ[6XX4Q/ÿM,6Rÿ
      I@<9:AFCC:<mEFC?GD;:IC@:9AFCC:<mEFC?
      367W,ÿy2ÿzR4],-ÿ
      :C:;L<>A?CU:<m>;F<EFC?
      Z,{O67ÿjO,6ÿ|R6Xt6}ÿzR4],-ÿ
      ?C:;L<>A?CU:<m>;F<EFC?
      3sW6XÿV2ÿzRNXÿ
      nC:UIA>K>H:9DEFC?G?C>K9@gA<FJEFCT>UH>;L<EFC?G<uJ;:<uIHA>K>H:9DEFC?Gn~:UIA<FJEFCT>UH>;L<EFC?
      +,774,-ÿY64N4ÿ
      8B9J;U;ABC?:9DEFC?G89:;<=<>?9@ABC?:9DEFC?G9`CCHABC?:9DEFC?GH;I99FIC@ABC?:9DEFC?G9I`?9UgCL9ABC?:9DEFC?G9=9>=CI9ABC?:9DEFC?GJK>9L<@IC@ABC?:
      Z4WO6,Rÿ+ÿY,7Q,RRÿ
      ?B<@H<::A?CU:<m>;F<EFC?
      [O6-R,Xÿ+2ÿY4],7ÿ
      B;L<@A=>CD<>B;L<@EFC?
      16-N4ÿi2ÿP,QQ/ÿ
      9><HHmAFCC:<mEFC?GHJCIU<>AFCC:<mEFC?GK9:9@F>AFCC:<mEFC?G<J;:;@K@CU;F<A<FJEB9F<>B>CEFC?
      P\X,.6-/ÿZ2ÿP4]6Xÿ
      >?>AF:9II:9DK>CTBEFC?GdcefcdfAJ;:;@KIEHCFg<U=;>HEFC?
      s,7N47ÿ1R,67Q-,ÿP\5,-NXÿ
        >C=<>UIAIT::;L9@=:9Fg=T>@EFC?G9;<?<<E:CDAH;9?C@H?FF9>ÙmEFC?
      +\O7ÿ1R,67Q,-ÿP\547X\7ÿ
      8>C=;@IC@AIU=:9DEFC?GedacccdfAJ;:;@KIEHCFg<U=;>HEFC?
      36s-,7W,ÿZ6NNO,xÿP\X,7ÿ
      :>CI<@A>CI<@:<K9:EFC?G:9>>mE>CI<@A<9>Ù:;@gE@<UG:>CI<@A<FJEFCT>UH>;L<EFC?
      ,RR4ÿ32ÿj6{,-ÿ
      g<::;I9K<>AHDUEFC?GL;Fgm;I<@I<<AHDUEFC?
      jW\NNÿw2ÿj6O6.ÿ
      IFCUUIA>K>H:9DEFC?GFCUUA<FJEFCT>UH>;L<EFC?
      +s67ÿ[6-R\Xÿj67WO,tÿ
      8I9@F`<oA>K>H:9DEFC?G<uJ;:<uA>K>H:9DEFC?
      jO67,ÿY6R.,X67\ÿj67Q,-Xÿ
      II9@H<>IA>C==;@I::BEFC?G@CU;F<A>C==;@I::BEFC?
      w,6NO,-ÿi2ÿjWOR,X4,-ÿ
      `K<;K<>A>K>H:9DEFC?GF=9>><UUA>K>H:9DEFC?G^F`:<I;<>A<FJEFCT>UH>;L<EFC?
      -4WÿZ6NNO,xÿjN6ORÿ
      <>;FIU9`:AHDUEFC?GF`>;IU;@<g>TK<>AHDUEFC?GI<9HCFg<UAHDUEFC?
      j4.\76ÿis-,]4WOÿjN-6sXXÿ
      IIU>9TIIAIU=:9DEFC?G89@;<EJ>9@g:;@AIU=:9DEFC?GI=:9g<AIU=:9DEFC?
      YO\7{ÿ32ÿ-67ÿ
      B`C@KUA8C`@IC@J;IU<:EFC?
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      +,--./0ÿ203,456,30ÿ
      789:;<=>;:9?@ABCD<E><<FGDHIJK9LLM?@ABCD<E><<FGDH
      N0O.PÿQR4S0PÿT03UR4ÿ
      E9V;W?L@LE:9WFGDH
      X,S,P.UYÿZ[ÿT,0UY,S\]ÿ
      HBHA::;L?HD^:;MLAG;FGDH
      _,-3,]ÿ̀3.50\,UYÿT,0O,Sÿ
      :W;9V;L?Ba9:9WFGDHI;HA:Mb9:ELAE@;bcdec?;GaFf9G;LfLDFGDHI:;C:;MbW;9V;Lbgeed?;GaFf9G;LfLDFGDH
      hY0i4ÿj[ÿT.33.0k-ÿ
      Cl9W<W?L@LE:9WFGDHIml9W<n?;GaFGD>L^ELAV;FGDHI;oaA:;oCE?L@LE:9WFGDH
      +R40UY04ÿp[ÿqR64riRRPÿ
      sMD><@WDDE?C^B:9WFGDHItgguvvwgwx?aA:A<@CFEDGy;^BALEFGDHIz9<9@A<@{:;Ly?C^B:9WFGDH
X04603ÿ|RU./,ÿ_.-U
}l;ÿaD::DWA<@ÿACÿ^l;ÿ:AC^ÿDaÿ9^^DL<;MCÿWlDÿ9L;ÿ4RUÿD<ÿ^l;ÿ:AC^ÿ^DÿL;G;AV;ÿ;bH9A:ÿ<D^AG;CÿaDLÿ^lACÿG9C;ÿWlDÿ^l;L;aDL;ÿL;>AL;ÿH9<>9:ÿ<D^AGA<@FÿD>ÿH9MÿWAClÿ^Dÿ>C;ÿMD>LÿHD>C;
^DÿC;:;G^ÿ9<EÿGDfMÿ^lACÿ:AC^ÿA<^DÿMD>LÿWDLEÿfLDG;CCA<@ÿfLD@L9HÿA<ÿDLE;Lÿ^DÿGL;9^;ÿ<D^AG;CÿDLÿ:9B;:CÿaDLÿ^l;C;ÿL;GAfA;<^CF
    ÿÿ




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